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           08.05.7 DOMESTIC ABUSE LEAVE
           Employees who are victims of domestic abuse, stalking, or sexual assault
           may be eligible for up to three (3) unpaid working days in a 12-month
           period. The employee may use the leave to seek a civil protection order,
           obtain medical care or mental health counseling for himself or herself or
           children, secure their home or seek new housing, or seek legal
           assistance. Appropriate advance notice mL1st be provided except in oases
           of imminent danger.


           08.05.8 PARENTAL INVOLVEMENT LEAVE
            Eligible regular full- and part-time active employees may qualify for
            Parental Involvement Leave. Parental Involvement Leave applies to
            parents or guardians of childr,en in Kindergarten through grade 12, the
           child must be enrolled in a school in Colorado, and the parent or
           guardian must reside in Colorado. The provisions within this leave allow a
            parent or guardian to attend a child's academic activities without fear of
           jeopardizing the parent's or guardian's employment.
           Leave may be granted for academic activities, such as Parent-Teacher
           conferences, meetings related to special education services, response to
           intervention, dropout prevention, attendance, truancy, or disciplinary
           action. Leave may not be taken for school plays or sporting events.
           Employee must provide notice of need for leave at least one (1) calendar
           week in advance. Applications for Parental Involvement Leave must be
           submitted to Human Resources in writing at least one (1) week before
           the leave begins including written verification from the school or school
           district. In the event of an unforeseen emergency, request Parental
           Involvement Leave as soon as practicable. Written verification from the
           school or school district will be required upon returning to work.




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        08.05.9 FUNERAL (BEREAVEMENT) LEAVE

        Regular full-time employees are eligible to receive paid time-off, up to a
        maximum of five (5) calendar days (not to exceed 40 hours), to prepare
        for and/or attend the funeral services of an immediate family member.
        For the purpose of this policy, an immediate family member is defined as:
            •   spouse
            •   domestic partner (provided affidavit is on file)
            •   child
            •   stepa.ohild
            •   parent
            •   step-parent
            •   brother
            •   sister
            •   grandchild
            •   mother- or father-in-law
        Two (2) days (not to exceed 20 hours) may be granted for an employee's
        brother- or sister-in-law, grandparent, or for the parents or slbHngs of a
        domestic partner.
        Pay for bereavement will be at the employee's regular rate of pay, without
        shift differ:ential or other premiums, and will not be used in the
        calculation of overtime. The Company may require verification of the
        need for the leave.
        With management approval, available vacation time may be used or
        additional unpaid time-off granted for the purposes of attending the
        funeral of a family member not listed above or a neighbor or friend.
        Advance request must be made and approval is contingent upoh
        operational need.




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                                   SAFETY AND HEALTH PROGRAM
                                                                                                                    I
           09.05.1 SAFETY POLICY STATEMENT

              Frontier Airlines Safety Policy

               Safety and quality are fundamental priorities for Frontier. Excellence in safety and the quality of service
               are vital components of our rnissien, and the source of Frontier's competit,ive advantage. Frontier's
               leadership is committed to providing all employees with a safe and health workplace, Each and every
              .employee, from the offh:e of the Ci:O to tl,e frontline, Is responsible for safety.and quality performance.

              F"rontler Airlines is committed to the highest safety standards In every area of the operation, Including all
              supply systems and services.         By developing, implementfag and maintaining a robust Safety
              Management System (SMS), we ensure all aviation <Jctivities uphold the highest level of safety
              performance and cornply with all local,.state,, and federal regulations applicable to our Industry, and the
              international standards of t he international Civil Aviation Organization (ICAO). Frontier is committed to
              managing safety risk through the SMS to continuously improve the level of Safety throughout our
              org,mization.

              Frontier Will allocate appropriate (esources to establish and maintain programs that, With each
              employee's help, Improve safety standards and quality performance. We demonstrate our continual
              commitment to safety by making safety excellence an integral part of all flight and ground activities·
              through policies, procedures, and programs contained in our manual system.

              A healthy safety culture is not only the result of a vibrant safety management system; it also encourages
              employee reporting, feedback and sharing of information. Further, it establishes standards for
              acceptable behavior for all employees and defines unacceptable behavior that will not be tolerated.
              Embedding a culture of safety in our daily activities reinforces that at all times, safety is paramount.

              Frontier Will measure safety performance by evaluating procedures, making changes accordingly, and
              settee realistic goals. Frontier seeks to become more proactive and predictive in flndlng latent hazards
              .ind risks. A key objective of th!! SMS is to minimize the risk associated with all aviation activities to a
              point as low as reasonably practicable and achievable.

              Al l employees will be given adequate and appropriate safety information and training upon Initial
              emplo~ment and throughout tenure. fmployees must show competency In safety matters and will only
              be allocated tasks that are commensurate with their skills.

              While management sets safety objecilves and evaluate~ t he safety risk, every employee throughout the
              company plays an integral part in Identifying hazards and promoting a positive safety culture. As a
              condition of employment, compliance with the rules and procedures of the safety program is required
              of all employees regardless of pos1tion. Working together, we can achieve our goal of always operating
              at the highest possible ieve1s of safety and quality.




              oav1d !>legel
              Chief Executive Officer




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        09.05.2 WORKPLACE SAFETY
        Safety is a state of mind - a result of exhibiting specific character
        qualities, competency and consistency; and common sense. Safety is
        part of the way we think and act. It's not just words but actions. Safety is
        all the things we do to eliminate or minimize the risk of loss to our people,
        property and processes.
        Frontier's number one core value is Safety- People are Priceless.
        Practicing alertness, attentiveness, and cautiousness will result in a safe
        operation, whether working in the office or around our aircraft. These
        character qualities are especially important for you, your coworkers, our
        guests and our industry partners. Frontier is committed to the safety and
        health of all employees and recognizes the need to comply with
        regulations governing injury and accident prevention and employee
        safety. Maintaining a safe work environment requires the continuous
        cooperation of all employees.
        Frontier strives to maintain safety and health practices consistent with
        the needs of our industry. If you are ever in doubt about how to safely
        perform a job, it is your responsibility to ask your manager or supervisor
        for assistance. Any suspected unsafe conditions and all injuries that
        occur on the job must be reported immediately. Compliance with these
        safety rules is considered a condition of employment. Therefore, it is a
        requirement that management make the safety of employees an integral
        part of her/his regular management functions. It is the responsibility of
        each employee to accept and follow the established safety regulations
        and procedures.
        Frontier's Safety and Health Program is not carved in stone because it is
        a dynamic, common sense approach to providing our guests with the
        safest possible air transportation and you with a safe and healthy work
        environment. It is the responsibility of each of you to identify and report
        hazards or substandard conditions to your supervisor or the Safety
        Department


        09.05.3 REPORTING SAFETY ISSUES
        All accidents, injuries, potential safety hazards, safety suggestions, and
        health and safety related issues must be reported immediately to your
        supervisor, your manager or the Safety Department. It is important to be
        truthful in reporting to ensure claims are handled properly and any
        existing safety hazards are corrected.


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           If you or another employee is injured, you should first contact outside
           emergency response agencies, if needed, then your supervisor. If an
           injury does not require medical attention, a supervisor and First Report
           of Injury/Accident Form must be completed in case medical treatment is
           later needed.
           A Worker's Compensation Claim must be completed in all cases in which
           an injury requiring medical attention has occurred. If you fai l to report an
           injury you may jeopardize your right to collect workers' compensation
           payments as well as health benefits.
           The Occupational Safety and Health Administration (OSHA) also provides
           for your right to know about any health hazards that might be present on
           the job. Should you have any questions or concerns, contact your
           supervisor or manager for more information. A Safety Incident Report
           should be made to Frontier as soon as possible, no later than 48 hours
           after the incident. The Incident Report is available at www.F9safety.com
           or the Report incident or injury button on www.myfrontier.org.

           09.05.3.1 SAFETY HOTLINE
           Frontier has implemented a Safety Hotline for any individual to voice a
           concern or problem. The safety hotline is a voice mail system that is
           monitored on a regular basis by Safety Department personnel. The use of
           the hotline is confidential and the caller can remain anonymous if
           desired. Callers may identify themselves and request they be informed of
           action taken on their concern.
           Each of you has an inherent responsibility to help maintain a safe and
           healthful work environment. Accidents, hazards, and safety concerns
           should be reported truthfully and as they are discovered or observed.
           The hotline is available 24 hours a day, seven days a week. When a
           hotline call is received , immediate action will be taken by Safety
           Department personnel.
           Toll Free ...................................... (888) 839-4510
           Local. ............................................(720) 374-SAFE (7233)
           Fax............................................... (720) 374-8030
           Email ······· ··························-··········F9Safety@flyfrontier.com




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        09.05.4 ON THE JOB INJURIES
        Frontier works to provide a safe working environment for all employees_
        However, injuries on the job do occur.

        09.05.4.1. Injuries
        If you are injured on the job, you are responsible to notify your supervisor
        immediately_ After appropriate actions are taken to ensure your
        wellbeing, you will be asked to provide information for or complete a 'First
        Report of Injury' and your supervisor will conduct an investigation.

        09.05.4.2 Incidents & Accidents
        If you are involved in an fncident or accident, you may have to submit for
        a drug and alcohol test. At a minimum, you will be interviewed as to your
        involvement in the incident or accident. Your supervisor or manager will
        conduct an investigation and this may further warrant your participation
        in the investigation, documentation and conference call participation.

        09.05.4.3 Protective Gear
        Frontier supplies personal protective equipment (PPE) for jobs requiring
        such gear. The items provided are to protect you from illness and injury.
        PPE includes hearing protection, safety goggles, high visibility safety
        vests and gloves; this list is not all inclusive. Some PPE is shared and
        must not be removed from the workplace. Inoperative or ineffective PPE
        needs to be returned to your supervisor for replacement. All PPE is
        supplied and usage required under Federal Regulations 29CFR1910.
        Because we care about your safety and well-being, wearing PPE as
        prescribed and designed is required and will be enforced to ensure
        hazards associated with the workplace are eliminated or minimized.
        Lost time because of accident or illness is costly to you, your family, and
        to Frontier. Be alert to the fact that some accidents and illnesses, such
        as hearing loss, develop very subtly and slowly over time.




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           09.05.5 WEAPONS
           To the fullest extent permitted by applicable law, Frontier prohibits all
           persons who enter company property from carrying a handgun, firearm,
           knife, or other prohibited weapon of any kind regardless of whether the
           person is licensed to carry the weapon or not.
                NOTE: Individual state statutes define what is considered a
                prohibited weapon.
           The only exception to this guideline will be police officers, security guards
           or other persons Who have been given Written consent by Frontier to carry
           a weapon on company property.
           Any employee disregarding this guideline will be subject to immediate
           termination of employment


           09.05.6 FIRE PREVENTION
           An important part of fire prevention is to know the location of the fire
           extinguisher(s) in your area and make sure they are kept clear at all
           times. Notify your management if an extinguisher: is used or if the seal is
           broken.
                NOTE: Fire extinguishers that are rated ABC can be used for paper,
                wood, or electrical fires.
           Make sure all flammable liquids, such as alcohol, are stored in approved
           and appropriately labeled safety cans and are not exposed to any ignition
           source.


           09.05. 7 HAZARD COMMUNICATION
           In compliance with Occupational Safety and Health Administration
           (OSHA) Hazard Communication standards, Frontier has implemented the
           following communication methods for employees:
            •     Workplace Chemical Inventory Lists
            •     Intranet database containing MSDS Sheets
            •     PPE Hazard .Assessment worksheets for various job functions




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        09.05.8 AVIATION SAFETY ACTION PROGRAM (ASAP)
        Pilots, Mechanics, Dispatchers and Flight Attendants participate in the
        Aviation Safety Action Programs (ASAP). ASAP identifies significant safety
        concerns and issues; operational deficiencies; non-compliance with
        regulations; deviations from company policies and procedures; and
        safety events. Safety issues are resolved through corrective actions
        rather than punishment or discipline. This program allows employees to
        voluntarily disclose mistakes or errors. The overall goal of ASAP is to
        improve awareness and identify operation deficiencies by facilitating an
        open line of communication between Pilots, Mechanics, Dispatchers,
        Flight Attendants and management. All directors and managers at
        Frontier have committed to their respective departments to promptly
        respond to a report that identifies problem areas.
        ASAP is based on a partnership between the Federal Aviation
        Administration (FAA), Frontier and the unions representing each work
        group. These programs are intended to generate safety information that
        may not otherwise be obtainable.




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                               INFORMATION TECHNOLOGY
                                  ACCEPTABLE USE POLICY

           The wise use of technology is essential for Frontier's success. Frontier
           must have the full commitment and cooperation of all employees,
           contractors, vendors, partners, and associates so Frontier uses
           technology in a legal. ethical, and productive manner.
           Frontier relies on its computer network to conduct its business. To ensure
           that its computer resources are utilized properly by its users, Frontier has
           created this Information Technology Acceptable Use Policy. The ru les and
           obligations described in this Policy apply to all users of the Frontier
           computer network, wherever they may be located. Violations will be taken
           very seriously and may result in disciplinary action, including possible
           termination and/or civil and crim'inal liability. It is every user's duty to
           utilize the Frontier computer resources responsibly, professionally,
           ethically, and lawfully.


           10.05.1 POLICY
           The Computer Resources are the property of Front ier and may be used
           only for legitimate Frontier business purposes. Users are permitted
           access to the Computer Resources to assist them in performance of their
           j,obs. Use of the Computer Resources is a privilege t hat may be revoked
           at anytime.

           10.05.1.1     S,;ope
           This policy applies to all equipment that is owned or leased by Frontier
           and governs the use of the following Frontier resources:
            •   Network Devices
            •   Laptops
            •   Operating Systems
            •   Personal Data Assistants (PDA)
            •   Applications
            •   Cell Phone/Smart Phone
            •   Databases
            •   Internet Use
            •   Remote Access Technologies
            •   E-mail Use

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       •   Wireless Technologies
       •   Slogging
       •   Removable Electronic Media
       •   Social Media Forums
       •   Desktops


       10.05.2 NO EXPECTATION OF PRIVACY
       The computers and computer accounts given to users are to assist them
       in performance of their jobs. Users should not have an expectation of
       privacy in anything they create, store, send, or receive on the computer
       system_ The computer system belongs to Frontier and may be used only
       for business purposes.

       10.05.2.1     Waiver of Privacy Rights
       Users expressly waive any right of privacy in anything they create, store,
       send, or receive on the computer or through the Internet or any other
       computer network via Frontier Computer Resources. User:s consent to
       allowing authorized Frontier personnel to access and review all materials
       users create, store, send, or receive on the computer or through the
       Internet or any other computer network via Frontier Computer Resources.
       Users understand that Frontier may use human or automated means to
       monitor use of its Computer Resources.

       .10.05.2 .2   Monitoring
       Frontier does have, and will continue to have, systems in place for the
       purpose of monitoring all usage of the public Internet, Frontier systems,
       networks, and equipment via Frontier Computer Resources. These
       systems can and will monitor web site visits, chat-type messages, e-mail
       messages, newsgroup postings, and all files transferred to and from
       Frontier provided .resources. Frontier wi ll review and analyze usage
       patterns to ensure resources are being utilized within the scope of this
       and all other Front ier policies_

       1.0.05.2.3     Deletion of Information
       Deleting files or e-mail messages does not necessarily mean t hat t here
       are not copies on the network or in storage, or that the information
       cannot be retrieved.




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           10.05.3 PROHIBITED ACTIVITIES

           1.0.05.3.1.    Inappropriate or Unlawful Material
           The use of Computer Resources to access, transmit, store, display, or
           request inappropriate or unlawful material is prohibited. Inappropriate or
           unlawful material includes, but is not limited to, materials (including
           messages, images, video, or sound) t hat are fraudulent, harassing,
           embarrassing, sexually explicit, obscene, profane, intimidating,
           defamatory, racist, or that otherwise violate Frontier Airline's harassment
           policy or create a hostile working environment. Users encountering or
           receiving this kind of material should immediately report t he Incident to
           their Supervisors.

           1.0.05.3.2     Prohibited Uses
           Without prior written permission from the Chief Information Officer (CIO),
           Frontier Computer Resources may not be used for dissemination or
           storage of commercial or personal advertisements, solicitations,
           promot ions, destructive programs (that is, viruses or self-replicating
           code), political material, or any other unauthorized use.

           1.0.05.3.3    Waste of Computer Resources
           Users may not deliberately perform acts that waste Computer Resources
           or unfairly monopolize resources to the exclusion of others. These acts
           include, but are not limited to: watching videos online, streaming audio,
           sending mass mailings or chain letters, spending excessive amounts of
           time on t he Internet, playing games, engaging in online chat groups,
           printing multiple copies of documents, or otherwise creating
           unnecessary network traffic., or any other act that interferes with daily
           assigned duties.

           1.0.05.3.4     Misuse of Software
           Without prior written authorization from the Chief Information Officer
           (CIO) or their authorized representative, users may not do any of t he
           following: (1) copy software for use on t heir home computers; (2) provide
           copies of software to any independent contractors or clients of Frontier or
           to any third person; (3) install software on any of Frontier workstations or
           servers; (4) download any software from the Internet or other online
           service to any of Frontier workstations or servers; (5) modify, revise,
           transform, recast, or adapt any software; or (6) reverse-engineer,
           disassemble, or de-compile any software. Users who become awa re of
           any misuse of software or violations of copyright law should immediately
           report the incident to their Supervisors.

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       1.0.05.3.5    Communication of Trade Secrets
       Unless expressly authorized in writing by the Chief Information Officer
       {CIO), sending, transmitting, or otherwise disseminating proprietary data,
       trade secrets, or other confidential information of Frontier is strictly
       prohibited. Unauthorized dissemination of this information may result in
       substantial civil liability as well as severe criminal penalties under the.
       Economic Espionage Act of 1996.

       1.0.05.3.6      System Integrity
       No activities should be engaged in with the intent to degrade system
       performance. No attempt should be made to prevent an authorized user
       access to a system resource. No attempt should be made to circumvent,
       or attempt to circumvent, security measures In place to gain access to
       resources for which proper authorization has not been given. No
       programs, utilities, or scripts should be run that would reveal
       weaknesses in the security of any system resources. No programs,
       utilities, or scripts should be run on Frontier resources that would reveal
       weaknesses in the security of any non-Frontier system resources.

       1.0.05.3.7     Commercial Use
       Frontier resources should not be used for any purpose that is competitive
       to Frontier or for any purpose that may constitute a conflict of interest
       with Frontier.


       10.05.4 PASSWORDS

       1.0.05.4.1     General Guidelines
       All tech nologies connected to Frontier network or that have access to
       sensitive, confidential, or private information on them must be secured
       with a user ID and password, or another approved authentication
       method. None of the authentication (user ID, password, token, etc.)
       methods may be generic or shared when accessing systems described
       above.

       1.0.05.4.2      Responslblllty for Passwords
       Users are responsible for safeguarding their passwords for access to the
       computer system. Individual passwords should not be printed, stored
       on line, or given to others. Users are responsible for all transactions made
       using their passwords. No user may access the computer system with
       another user's password or account. Users of Frontier systems must
       never, under any circumstances, give out their user identity and/or

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           password. This includes requests made by apparent trusted parties. Any
           incidents of anyone attempting to obtain passwords are to be
           immediately reported to the IT Service Desk, Information Security, or a
           Supervisor. When users are creating passwords, they should use only
           passwords considered secure. All passwords must change every forty~five
           (45) days. Where not possible or appropriate they must change every
           ninety (90) days. When a user knows his or her passworq has been
           compromised, it must be reported immediately and a new password
           obtained.

           10.05.4.3     Password Creation
           To create a secure password, the following requirements should be met
           •   All passwords will be a minimum of eight (8) characters.
           •   They must contain characters from three of the following four
               categories:
                    English uppercase characters (A through Z)
                    English lowercase characters (a through z)
                    Base 10 digits (0 through 9)
                    Non-alphanumeric characters (for example:!, @, #, $, %)
           •   Passwords should not be derived from common dictionary words.
           •   Passwords should not be a date such as birthday or anniversary.
           •   Passwords should not be a proper name, such as that of a spouse or
               child.
           For your assistance, here is a list of "don'ts":
           •   Don't reveal a password over the phone to ANYONE.
           •   Don't reveal a password in an e-mail message.
           •   Don't reveal a password to your manager.
           •   Don't reveal a password to anyone on the Information Technology
               staff.
           •   Don't talk about a password in front of others.
           •   Don't hint at the format of a password (e.g., "my family name").
           •   Don't reveal a password on questionnaires or security forms.
           •   Don't share a password with family members.
           •   Don't reveal a password to co-worKers while on vacation.
           •   Don't use Company names (Frontier, etc.) or common airline terms in
               or as your password.




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       1.0.05.4.4     Passwords Do Not Imply Privacy
       Use of passwords to gain access to the computer system or to encode
       particular files or messages does not imply that users have an
       expectation of privacy in the material they create or receive on the
       computer system. Frontier has global passwords that permit it access to
       all material stored on its computer system-regardless of whether that
       material has been encoded with a particular User's password.


       10.05.5 SECURITY

       1.0.05.5.1      Accessing Other User's Files
       Users may not alter or copy a file belonging to another user without first
       obtaining permission from the owner of the file. Ability to read, alter, or
       copy a file belonging to another user does not imply permission to read,
       alter, or copy that file. Users may not use the computer system to "snoop"
       or pry into the affairs of other users by unnecessarily reviewing their files
       and e-mail.

       1.0.05.5.2   Accessing Other Computers and Networks
       A user's ability to connect to other computer systems through the
       network or by a modem does not imply a right to connect to those
       systems or to make use of those systems unless specifically authorized
       by the operators of those systems.

       1.0.05.5.3    Computer Security
       Each user is responsible for ensuring that use of outside computers and
       networks, such as the Internet, does not compromise the security of the
       Frontier Computer Resources. This duty includes t-aking reasonable
       precautions to prevent intruders from accessing Frontier's network
       without authorization and to prevent introduction and spread of viruses.

       1.0.05.5.4    System Access
       Requests for new user-IDs and changed privileges Will be documented
       and approved by the user's manager and the data owner before a
       Systems Administrator fulfills these requests. Any user account
       modification requests such as adding or changing access will be initiated
       through the Information Technology Help Desk. New account passwords
       and user-IDs will be distributed to the requesting user's manager in a
       sealed envelope marked Confidential. No passwords or user-IDs are to be
       delivered in any unsealed envelope. Upon first logon, the default
       password will be changed to meet

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           Guidelines set for passwords. Revocation for terminations will be
           implemente.d as outlined in Termination Procedures.

           1.0.05.5.5    Credit Card Data Confidentiality
           All Frontier employees that have access to credit card data must take
           great care in protecting this data from disclosure to unauthorized parties
           or transmitting the credit card data in a format that might be exposed.
          The following rules apply to all employees who have access to credit card
          data:
           •   Credit Card Numbers are not to be sent via end-user messaging
               technologies such as e~mail, instant messaging or chat/forum
               sessions.
           •   Explicit approval from management must be given to access any
               systems that contain credit card data and access can only be from
               approved locations. Only users with a business need may view full
               credit card numbers.
           •   All users that access systems that contain credit card data must be
               authenticated with user ID and password before accessing credit
               card data. No group, shared, or generic accounts and passwords can
               be Used on systems that contain credit card data.
           •   Access to systems that contain credit card data can only be from
               Company-approved devices_
           •   All users accessing applications that contain credit card data
               remotely must automatically or manually disconnect from remote-
               access sessions after a 15 minute period of inactivity.
           •   All vendors, consultants or 3rd parties accessing credit card data
               must have activation of remote-access technologies only when
               needed and with immediate deactivation after use.
           •   All users are prohibited from copying, moving, or storing of credit
               card data onto local hard drives and removable electronic media
               when accessing such data via from the local network or remote-
               access technologies.




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       10.05.6 E-MAIL USE
       E~mail is made available to approved users solely for the purpose of
       facilitating effective business operations. All users of e-mail must gain
       access to use this technology via a formal request sent to the IT Service
       Desk and must be approved by the user's manager.
       •   All users are responsible for their e-mail activity and are encouraged
           to use e-mail in a judicious and ethical manner at all times.
       •   E-mail is to be usecf for business purposes, but may be used for
           personal necessities from time to time as long as the personal use
           does not violate any other portion of the Computer Usage policfes.
       •   Connections to the internet for the use of e-mail are to be conducted
           through Frontier approved technologies and resources only.
       •   No insecure ports, protocols or services are to be used for e-mail
           activities.
       •   Users are not allowed to send or intentionally receive offensive
           material via e-mail including, but not limited to pornography and
           other material deemed offensive in nature.
       •   Users may not use e-mail to facilitate personal financial gain while at
           work.
       •   Users may not use e-mail to incite violence or conduct any other
           activity deemed criminal or offensive fn nature.
       •   Any activity that may potentially compromise the organization's
           network infrastructure, cause harm to other related systems or pose
           a significant financial , operational or business threat to the
           organization because of misuse of e-mail will not be tolerated.
       •   Violation of these usage policies is grounds for being reprimanded,
           suspended or terminated.




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           10.05. 7 VIRUSES

           :10.05.7.1.   Virus Detection
           Viruses can cause substantial damage to computer systems. Each user
           is responsible for t.aking reasonable precaut ions to ensure he/she does
           not introduce viruses into Frontier network. To that end, all material
           received via e-mail, on a disk or other magnetic or opt ical medium, and
           all material downl.oaded from the Internet or from computers or networks
           that do not belong to Frontier MUST be scanned for viruses and other
           destructive programs before being placed onto the computer system.
           Users should unqerstand that their home computers and laptops might
           contain viruses. It is the user's responsibility to ensure all e-mails sent
           to/from, or disks, files and media t ransferred from t hese computers to
           the Frontier network are scanned for viruses.

           1.0.05.7.2    Accessing the Internet
           To ensure security and avoid the spread of viruses, users accessing the
           Internet through a computer attached to the Frontier network must do so
           through an approved Internet f irewall. Accessing the Internet directly by
           modem is strictly prohibited unless the computer you are using is not
           connected to the Frontier network.


           10.05.8 ENCRYPTION SOFTWARE

           1.0.05.8.1.    Use of Encryption Software
           Users may not install or use encryption software. on any of Frontier's
           computers without first obtaining written permission from their
           Supervisor. If encryption software is approved for use, the storage of the
           key must be approved by t he Manager of Information Security. A copy of
           each key must be shared with Chief Information Officer (CIO) or Manager
           of Information Security.

           1.0.05.8.2   Export Restrictions
           The federal government has imposed restrictions on export of programs
           or f iles containi ng encryption technology (such as e-mail programs that
           permit encryption of messages and electronic commerce software that
           encodes t ransactions).




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       10.05.9 INFORMATION TECHNOLOGY RESOURCES

       1.0.05.9.1     Purchasing
       Any party considering evaluating and/or purchasing hardware and/or
       software not already installed should contact the Information Technology
       Service Desk for assistance prior to purchasi ng or attempting to install
       the software. Any request for additional hardware and/or software
       requi res approval from the individual's Supervisor and the Chief
       Information Officer (CIO). All computing hardware and software for use by
       Frontier will be purchased through the Frontier Information Technology
       department.

       1.0.05.9,2    Management
       No computer systems, electronic devices (tablets, PDAs, smart phones,
       etc.) and/or networks will be attached to the Frontier infrastructure
       without the express written consent of the Chief Information Officer (CIO).
       All routers, switches, and firewal ls attached to or part of the Frontier
       network infrastructure will be installed and managed by Frontier's
       Information Technology personnel. This includes any form of wireless
       network devices.

       1.0.05.9.3   Disclosure of Information
       At no time will any information regarding Frontier's information
       technology infrastructure be released to any third party without the
       written consent of the Chief l'nformation Officer (CIO).


       10.05.10 MISCELLANEOUS

       10.05.10.1 Archiving and Backup
       Employees who have computers connected to Corporate Computer
       systems are required to store documents and Frontier information on the
       designated file servers, The IT department will backup all data stored on
       file servers.

       10.05.10.2 Compliance with Applicable Laws and Licenses
       In their use of Computer Resources, users must comply with all software
       licenses, copyrights, and all other state, federal and international laws
       governing intellectual properly and online activities.




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          1.0.05.1.0.3 Violation Reporting
          Users will promptly report all information security violations, alerts,
          warnings, suspected vulnerabilities and the like to the IT Service Desk
          (support@flyfrontier.com) or (720) 374-4400. Users are prohibited from
          utilizing Frontier's systems to forward such information to other users,
          whether the other users are internal or external to Frontier. In the event
          passwords or other system access control mechanisms are lost, stolen,
          or disclosed, or suspected of being lost, stolen or disclosed, the IT
          Service Desk should be notified immediately. All suspected data
          breaches, unusual system behavior, such as missing files, frequent
          system crashes, misrouted messages, and the like should be
          immediate'ly reported to the IT Service Desk (support@flyfrontier.com or
          (720) 374-4400. The specifics of security problems or incidents should
          not be discussed openly but should instead be shared on a need-to-know
          basis. In the event of a compromise to any Frontier system, no
          generalities or details should be made available to any person outside of
          Frontier without written consent from the Chief Information Officer (CIO).
          Where deemed appropriate by Frontier management, all attempts will be
          made to ensure the anonymity of any individual disclosing or reporting a
          violation or incident.

           1.0.05.1.0.4 Amendments and Revisions
           This Policy may be amended or revised from time to time as the need
           arises. Users will be provided with copies of all amendments and
           revisions.

          1.0.05.1.0.5 Variance Policy
          Policies are meant to be the general guidelines for Frontier. As with any
          policy, instances may occur where normal operations may need to be. for
          a time, outside the scope and/or guidelines of a policy. To this end, the
          Information Security Policy Variance Form should be used. This form
          should be filled out as a joint effort between the requesting party and
          Frontier's' Information Technology personnel. Any variance requested
          must be approved by the Chief Information Officer (CIO) prior to being
          accepted as a variance.

           10.05.10.6 Company Information
           Do not distribute (in any form, including electronically) any confide.ntial
           Frontier information; negatively referencing Frontier employees, clients,
           customers or partners. Do not post pictures of Frontier property without
           express permission from the office of Marketing and Branding.


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       10.05.11 EMPLOYEES SOCIAL MEDIA USAGE POLICY
       Frontier Airlines recognizes the importc1nce of social media for its
       employees and encourages employees to use social media within the
       parameters of t he Social Media Usage Policy and in a way t hat does not
       violate company policies, including our Standards of Conduct.
       It is important to note that all Frontier Airlines social media policies are
       meant to supplement the Company's existing policies regarding both
       employee conduct and computer usage. Front ier's Employee Handbook
       should always be the first reference for questions on these matters. The
       social media policy is meant to provide both clarification and guidance
       for activity in t he social media realm. Where no policy or guideline exits,
       employees are expected to use t heir professional j udgment and take the
       most prudent action possible. Further, employees should check with their
       managers or supervisors if they are uncertain about the appropriateness
       of a social media posting or a particular use of social media. Violation of
       this policy may lead to discipline up to and including the immediate
       termination of employment.
         NOTE: As used in this policy, "social media" includes, but is not
         limited to, online forums such as biogs, industry message boards,
         and social networking sites, including Twitter, Facebook, Google+,
         foursquare, lnstagram, F/yerTalk, etc.

       10.05.11.1 Use of Company Facllltles and Computers
       Company facilities and computers may not be used for personal social
       media use. The company monitors the use of its facilities and employee
       computers to ensure compliance with its policies. Please refer to the
       Information Technology Acceptable Use Policy in the Employee
       Handbook for more guidelines on computer and Internet usage.

       10.05.11.2 Useful Tips When Using Social Media
       •   Be transparent: If your posts or communication on social media
           mention Frontier, its products or services, employees, customers,
           and/or competitors, you need to 0e clear that you work for the
           company, and your post is your opinion, not that of the Company. To
           help reduce the potential confusion you will need to put the following
           not ice in a reasonably prominent place on the front page of your
           site/profile:




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                     The views expressed here are mine alone and do not necessarily
                     reflect the views of my employer, Frontier Airlines.
               NOTE: Employees must keep rn mind that information posted on a
               social media site that violates company policy and/or federal, state
               or local law will not be protected by the disclaimer to shield them
               from disciplinary action.
           •     Customer Engagement: We have a dedicated social media team
                 tasked with responding to customer inquiries or criticism. Our official
                 Frontier Social Media team is responsible for engaging customers
                 through our page. Do not respond to customer inquiries or
                 comments directed specifically to the Company or asking for an
                 official Company response.
           •     Support the Social Media Team: If you see a comment, positive or
                 negative, that is not directed explicitly to our Facebook page or
                 Twitter accounts please feel free to direct the passenger to our
                 official accounts so they can get the necessary help. Please direct
                 the users to the to the official Frontier social media accounts, listed
                 at the end of this section.
           •     Be Professional: Remember, you are responsible for what you write
                 or present on social media. Ask yourself: Would you want your boss
                 to see it? How about your family?
           •     Emergency Response: Never comment on any content when Frontier
                 is in a crisis situation. Frontier has trained individuals for these types
                 of situations.
           •     Company Business:
                       Do not discuss private company business or co-workers on your
                      social media sites; doing so can put as at a competitive
                       disadvantage or harm the reputation of those with whom we
                      work. If you want to discuss something that is company-
                      sensitive, please as Corporate Communications first. Ask
                      yourself: Will sharing this information get me in trouble ahd is it
                       public knowledge?
                       Do not tweet or post directly to the media - including agents of
                      the media, websites or social. media sites of the media, or
                     employees of the media - with statements or pict ures th~t
                     reference Frontier Airlines; this includes, but is not limited to,
                     statements about or pictures of our passengers, airports that we
                     serve, aircraft and/ or employees.




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       •   Ask for Permission: Do not identify or reference company employees,
           clients, customers or partners without expressed permission. Do not
           post pictures of Frontier Airlines passengers on the Internet without
           express permission from the customer and CorpComm.
       Social media is important for interactions with our customers and is a
       very public space in which we interact with competitors, customers,
       media, and even our fellow employees. Our Social Media team reserves
       the right to remove any inflammatory, negative, or inappropriate posts
       from our social media channels. This is especially important for our
       employees; if the Social Media team does in fact need to remove your
       comment an email will be sent to your manag~ment to inform them of
       the incident. We support each other on a daily basis in the office and at
       the airport, which must carry over into the social media sphere.

       10.05.11.3 Use of Company's Logo or Trademark
       Frontier and its employees must adhere to very strict copyright licenses.
       Therefore, under no circumstance can employees use professionally
       produced images of the livery (tails) or logos. on any type of personal
       website, blog, social networking site, etc., without approval from
       Corporate Communications. Any and all existing unapproved postings
       must be taken down.

       10.05.11.4 Press Inquiries
       Certain social media usage may generate media inquiries. If a member of
       the media contacts you about a Frontier related posting or requests
       Frontier i nformation of any kind, do not reply, and contact Corporate
       Communications immediately at F9CorpComm@flyfrontier.com. You may
       also reach out to Corporate Communications for clarification on whether
       certain information has been publicly disclosed before you comment
       about it.

       10.05.11.5 Temporary suspension of Website or Blog
       Frontier may request that you temporarily confine your website or blog
       commentary to topics unrelated to the Company. If these requests are
       not honored, the Company may ask that you temporarily suspend your
       website or blog activity altogether, ff it is necessary to ensure compliance
       with securities regulations or other laws.

       10.05.11.6 On-Duty Use of Social Media
       The job duties of certain Frontier employees may call for the use of social
       media while at work. Employees may engage in social media activity
       during work time provided it is directly related to their work, approved by

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           their manager, and does not identify or reference company clients,
           customers, or vendors without express permission. As you are aware,
           Frontier monitors employee use of company computers and the Internet,
           including employee blogging and social networking activity. Please refer
           to the Information Technology Acceptable Use Policy in the Employee
           Handbook for more guidelines on Internet usage.

           10.05.11..7     Official Frontier Airlines Social Media Accounts
           Twitter:
           •   @FlyFrontier
               This is our main account used for marketing messages.
           •    @FrontierCare
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               This is the account used for customer service via Twitter.
           Facbook:
           •   www.facecbook.com/flyfrontier
           lnstagram
           •   @Flyfrontier
           Foursquare:
           •   www.foursquare.com/flyfrontier
           FlyerTalk
           •   F9 Direct




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       10.05.12 LEARNING MANAGEMENT SYSTEM POLICY

   I   Chief Executive Officer (CEO)
       (Ops Spec A025)
       The Chief Executive Officer (CEO) for Frontier Airlines has aut hority over
       the Chief Information Officer (CIO) for Frontier Airlines information
       technology init iatives. The Chief Information Officer (CIO) is ultimately
       responsible for Frontier's Learning Management System (LMS) access
       control requirements and system audit procedures. The Chief
       Information Offfcer (CIO) reports directly to Frontier's Chief Executive
       Officer (CEO).

   I   Frontier Program Manager
       (Ops Spec A025)
       The Program Manager has direct authority for Frontier's LMS, called
       el earn. The Program Manager actively monitors access control
       requirements and system audit procedures to confirm accuracy of the
       database based on the processes contained in this sect,ion.

       Training Departments
       Each Frontier Training Department is responsible for developing and
       implementing processes to accommodate the company policy for access
       controls and database accuracy.

       10.05.12.1     User Accounts an~ Access

       Creating Accounts
       Employees
       All active employees have an account created the f irst time they login to
       the Learning Management System (LMS) with their network username
       and password.
       Vendors
       All vendor accounts are created baseq on a management or approved
       representative submission. Each department reviews and approves the
       request for accounts to be created and forwards that request to
       Information Technology (IT) or is given permissions to add individuals.




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           Removing Access to the Learning Management System
           Employees
           All employees lose login access to the LMS the moment they go on a
           leave of absence or they are no longer employed with the company.
           Vendors
           All vendor accounts will be removed from the LMS when eit her one of the
           following occurs:
           •    They have not logged in for a period of 18 months
           •    IT or the designee is told by a department that a certain vendor
                employee is no longer employed
               NOTE: Each department is required to conduct a quarterly audit.
               See below.

           Access Controls
          Authenticated User
          By default, all users are created with authenticated user access, which
          means they can only login to the LMS and view the company directory.
          Stude11t Role
          A user is not given student access to a course unless t hey know t he
          password to enroll given by the instructor. The instructor may also
          manually enroll t he user into a course_

           Department Administrators
           Certain employees, appointed by a Vice President (VP) or Director of a
           department are given access at the department level to do the following:
           •    Moves, additions, changes or deletions of a course (not grades or
                history) within the department
           •    Delegate users to other roles including course creator, instructor,
                and non-editing teacher
           •    Change permission of other users at a depart ment level only
           IT will send a list of all non-student roles to t he department
           representative on a quarterly basis for audit purposes.

          Grade & Database Integrity
           1. The company maintains a backup of the entire system for t hree
              months
           2. The system keeps a backup of all grades indefinitely


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       3.   The system keeps a copy of all grades in three different tables within
            the system. For example, if a user completed a quiz as part of their
            training, the quiz score is kept in the following tables:
            a. The Quiz_Grade Table
            b. The LMS_Grade Table (Current grade history)
            c.   The LMS_Grade_GradeHistory Table Which shows all current and
                 all past grade events in the event another quiz attempt was
                 taken




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                CHAPTER 11 - DRUG AND ALCOHOL-FREE
                     POLICIES AND REGULATIONS

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                       ANTI-DRUG POLICY AND REGULATIONS                        I
           The Department of Transportation/Federal Aviation Administration (DOT/
           FAA), in November 1988, issued regulations to implement an Anti-drug
           program for employees who perform safety-sensitive and/or security
           related functions. These regulations prohibit the on-or-off duty use of
           illegal drugs. Illegal drugs or "drugs" include the following substances:
           Marijuana, Cocaine, Opiates, Phen.cyclidine, Amphetamines, and MOMA.
           Drug tests are accomplished by testing a urine specimen in accordance
           with DOT regulations contained in 49 CFR Part 40.
          The use and consumption of drugs or alcohol by employees detrimentally
          affects a wide range of areas, from their personal job performance and
          safety of their co-workers to general productivity, morale and efficiency.
           In order to maintain a safe working environment, ensure quality
           workmanship, promote maximum productivity and preserve the
           reputation of Frontier, a comprehensive alcohol and drug screening
           program has been established.
           The Drug and Alcohol Misuse Prevention Policies and Programs in this
           manual define. the regulations set forth by the DOT/FAA and are strictly
           enforced by Frontier. Frontier reserves the right to make any policy more
           stringent than DOT/ FAA regulations. Frontier has also established its own
           policies with respect to employees who use illegal drugs and/or misuse
           alcohol. These include non-federally mandated testing. A Prescription
           (Rx) and Over-the-Counter (OTC) Policy is included in the Anti-Drug and
           Alcohol Misuse and Prevention Policy as part of the provisions set forth
           by Frontier 1s authority.
           The policy emphasizes safety and explains the responsibility of the
           employee and a prescribing physician. Any employee who works for
           Frontier is deemed to have implied consent with these policies. These
           policies can be found at the end of this chapter.
               Program Manager                    HR Compliance
               Jerry Arellano                     Phone: 720-936-3704
               Phone: 720-374-4594
           Frontier has contracted with C/TPA, First Lab to help administer this
           government mandated program and keep all airline certificates in
           compliance with DOT/ FAA testing regulations.
           Program procedures and forms can be found at:
           http://www.myfronti er.org/h r/Compliance/Compliance.asp
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       11.05.1 DOT TESTING (DRUG & ALCOHOL)

       11.05.1.1 Employees Subject to Testing
       The following positions are subject to testing under the DOT: Pilots, Flight
       Attendants,    Flight Instructors,      Dispatchers,   Ground      Security
       Coordinators, Security Screeners, and Air Traffic Controllers. All of these
       positions are considered to be safety-sensitive and apply to all
       employees and management personnel who could possibly perform any
       of these duties. Mechanics are also subject to DOT testing, which
       includes anyone doing inspection, overhaul, repair, preservation, the
       replacement of parts, and anyone doing preventative maintenance, such
       as simple or minor preservation operations and the replacement of small
       standard parts not involving complex assembly operations. To help with
       the clarification of which positions are safety-sensitive, all applicable
       maintenance positions will be noted with ''DOT safety-sensitive position
       as reviewed by the Director of Maintenance". Any employee transferring
       from a non safety-sensitive position to a DOT covered safety-sensitive
       position will be subject to the federally mandated testing. These
       employees are subject to the following types of testing:

       11.05.1.2 Pre-Employment Drug resting
       A Pre-Employment test is administered when a candidate is offered a
       safety-sensitive position. When instructed to report for pre-employment
       testing, a candidate must do so within 48 hours of notification unless
       otherwise specified. An employee transferring from any position that is
       not classified as safety-sensitive into a safety-sensitive position is
       required to submit to a pre-employment drug screen under the
       Department of Transportation and be tested for drugs of abuse.

       11.05.1.3 Random
       An employee is considered to be performing a safety-sensitive function
       during any period in which he or she is ready and available to perform,
       actually performing, or just performed such functions. Testing takes
       place during work hours. The employee must cease performing safety-
       sensitive functions and proceed to the collection site immediately. Tests
       are conducted throughout the system at any base or station conducive to
       completion. Testing may also occur if an employee is "readily available"
       to perform safety-sensitive functions. For example, it is possible for an
       employee to be tested during recurrent/upgrade training if their status
       would allow them to perform their safety-sensitive functions if pulled
       from the training due to an emergency or shortage of qualified


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           employees. Random selections are made by First Lab based on the FAA
           required annual testing rate.

           11.05.1.4 Post-Accident
           A Post-Accident test must be conducted as soon as possible after a DOT
           accident; testing must be initiated no later than 32 hours for drug and no
           later than 8 hours for alcohol. This testing wlll apply to any safety-
           sensitive employees performing safety-sensitive functions whose
           performance may have been a contributing factor to the accident, or
           cannot be completely discounted as a factor in the accident. Employees
           are relieved of performing their duties until negative test results are
           received. As long as the result is negative, the employee will be paid for
           lost time. (In the case of injury to the employee, obtaining necessary
           medical assistance will take priority over the testing. In such cases,
           testing must be accomplished as soon as medically reasonable, within
           the time restrictions placed by the DOT/FAA.)
           The following is the definition of a DOT accident An occurrence
           associated with the operation of an aircraft with the intention of flight,
           and all such persons have disembarked, in which any person suffers
           death or serious injury, OR in which the aircraft receives substantial
           damage. (14 CFR Part 121, 49 CFR Part 40) If any of the criteria are not
           present in the situation, it is probable cause for NON DOT Post-Accident
           testing per company policy_

           11.05.1.5 Reasonable Suspicion
           Reasonable Suspicion testing observations may occur during, just
           proceeding, and/ or at the end of the work shift. As long as the result is
           negative, the employee may return to work and will be paid for lost time.
           See Frontier's Reasonable Cause/ Suspicion Policy for more information
           regarding procedures.
             NOTE: In circumstances requiring Post-Accident or Reasonable
             Suspicion testing, management or designee must escort the
             employee to the collection site and arrange for transportation home.




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       .11.05.1.6 Prohibited Usage
       Alcohol is defined as the intoxicating agent in beverage alcohol, ethyl
       alcohol, or other low molecular weight alcohol, including methyl or
       isopropyl alcohol. Alcohol use is defined as the consumption of any
       beverage, mixture, or preparation, including any medication, containing
       alcohol.
         NOTE:    Frontier's policy and DOT/ FAA regulations prohibit reporting
         for or remaining on duty while having an alcohol concentration of
         0.04 or greater

       11.05.1.7 Pre.-Duty Use
       Any employees performing the listed safety-sensitive functions are
       subject to alcohol testing and must refrain from consuming any alcohol
       (not just alcohol beverages) whenever they are performing, ready to
       perform, or immediately available to perform these functions. Employees
       will normally be asked to test for alcohol when they have reported to
       work. In addition, no covered employee shall perform any of the listed
       safety-sensitive functions within eight (8) hours after consuming alcohol.
       Example: 1
       Our Ground Security Coordinators are on call to perform ground security
       coordinator functions at any time during their work day. Even though
       these functions might not be performed during the regular work day, the
       individual would be subject to testing the entire workday because he is
       immediately available to perform the functions of the ground security
       coordinator.
       Example: 2
       A Pilot on-call for duty while at home has not violated the regulations if he
       has an alcoholic beverage unless he reports for duty within ei.ght (8)
       hours of consuming such alcohol. He 1s not subject to alcohol testing
       until he reports for work. Therefore, if he is called to work and has
       consumed alcohol within the eight (8) hour time frame, he would have to
       decline to report until eight (8) hours have passed with no alcohol
       consumption. Therefore, an employee on call for duty at home is still not
       to consume any alcohol until their duty day is complete. A Pilot waiting to
       fly an aircraft in the employee's lounge is subject to testing as he is
       immediately available to fly the aircraft.




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           Example: 3
           An administrative employee who is available to perform aviation
           screening duties from 8 a_m_ to 12 noon in order to cover for an absent
           employee would be subject to testi ng during those hours even if no
           covered functions were actually performed

           1.1..05.1.8 On-Duty Use
          Covered employees may not consume alcohol while performing safety-
          sensitive functions. This prohibition also applies to covered employees
          who are at work and immediately available to perform safety-sensitive
          functions

           1.1..05.1.9 Followlng an Accident
           Covered employees wit h knowledge of an accident involving an aircraft
           for which they performed a safety-sensitive funct ion at or near the time of
           the accident may not use alcohol for eight (8) hours after the accident
           unless they have been given a post-accident test, or Frontier has
           determined that their performance could not have contributed to t he
           accident.
             NOTE: Accident is defined as an occurrence associated with the
             operation of an aircraft which takes place between the time any
             person boards the aircraft with the intention of flight and the time
             that all such persons have disembarked, and in which any person
             suffers death, or serious injury or in which the aircraft receives
             substantial damage.


           11.05.2 CONSEQUENCES FOR VIOLATING THE RULES OF. THE
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           1.1..05.2.1. Consequences
           Employees Will be terminated who:
               •    Receive a verified confirmed positive alcohol test result equal t o
                   or greater than 0.04.
               •   Fail to report to a designated collection site as directed within an
                   allotted time frame.
               •   Refuse to take the test.
               •   Fail to provide a sufficient amount of breath (without adequate
                   medical explanation and documentation).


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           •   Tamper with, adulterate, or substitute the test.
       In the event any employee is found to have an alcohol concentration of
       0_02 or greater but less than 0.04, that employee will be immediately
       removed from performing job functions, until the employee is retested
       with a result below 0_02, or until the start of the employee's next regularly
       scheduled duty period, if it occurs at least 8 hours following
       administration of the test. For the first offense the employee will be
       placed on a written warning. For the second offense the employee Will be
       placed on a final termination warning. Further violations wfll result in
       employment separation.

       1.1.05.2.2 Removal From Safety-Sensitive Functions
       Covered employees are prohibited from performing safety-sensitive
       functions if they have engaged in prohibited conduct under the FAA rule
       or other DOT agency's alcohol misuse rule (including refusal to submit to
       random, reasonable suspicion, or post-accident testing). Such employees
       will be immediately removed from duty and as per Company Policy will be
       subject to discipline up to and including termination.

       11.05.2.3 Refusal to Submit to Testing
       Covered employees may not refuse to submit to a post-accident, random,
       reasonable suspicion, or follow-up alcohol test. Frontier will not permit an
       employee who refuses to submit to such a test to perform or continue to
       perform safety-sensitive functions. Employees Who refuse to submit to
       the required testing will be immediately removed from duty and will be
       subject to d1scipline up to and including termination. DOT/ FAA
       regulations define a refusal as listed below_
           •   Failure to appear for any test within a reasonable time, as
               determined by the employer, consistent with applicable DOT
               agency regulations or company policies, after being directed to
               do so by the employer
           •   Failure to rema in at the testing site until the testing process is
               complete
           •   Failure to provide sufficient breath for any test required by this
               part or DOT agency regulations, and/or company policies
           •   Failure to provide a sufficient amount of breath when directed,
               and it has been determined, through a required medical
               evaluation, that there was no adequate medical explanation for
               the faih-1re



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               •     Failure or declining to take an additional test the employer or
                     collector has directed you to take
               •     Failure to undergo a medical examination or evaluation, as
                     directed by the employer as part of the insufficient breat h
                     procedures
               •     Failure to cooperate with any part of t he testing process
               •     Failure to sign the certification at Step 2 on the Alcohol Testing
                     Form
             NOTE:     More information on refusals can be found in 49 CFR Part
             40.261.


           11.05.3 PROCESSES AND TEST RESULTS

           1.1..05.3.1 Protection of Specimens
           The FAA regulations require a "chain of custodyn form to follow along with
           the sample. This provides for accountability and control from the point of
           collection to the final disposition of the sample. Strict procedu res are
           used when col lect ing, transferring and storing samples. You watch your
           sample being placed in a tamper proof package and sign the chain of
           custody form, which ensures the sample goes through the process
           intact.With each transfer of possession t he chain-of-custody form is
           dated, signed and annotated as to the purpose of the transfer. The
           collection of split samples is mandatory for all aviation employers. If t he
           result of the primary specimen is confirmed positive, the employee has
           72 hours after receiving notice that the Medical Review Officer has
           verified the test as positive in which to exercise their option to request a
           test of the split specimen.

           1.1.05.3.2 Specimen Destinations
           Urine analysis specimens are sent to Healt h and Human Services
           approved laboratories (e.g. LabCorp, Quest) under contract with First
           Lab. All urine specimens will be screened by immunoassay for the five (5)
           restricted drugs. Any urine specimen screened positive by immunoassay
           will be retested by gas chromatography/mass spectrometry (GC/MS).

           1.1..05.3.3 Medical Review Officer (MRO)
           A Medical Review Officer (MRO) is a licensed physician responsible for
           receiving laboratory results generated by an agency's drug testing
           program that has knowledge of substance abuse disorders and has
           appropriate medical training to interpret and evaluate an individual's


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       positive test result together with his or her medical history and all other
       relevant biomedical information. FAA regulations call for an independent
       Medical Doctor to review and interpret all test results. This is to ensure
       the maximum amount of fairness and confidentiality to the employee.The
       RAA Anti-Drug Consortium contracts with the Medical Review Officer, who
       has an extensive background in occupational health and drug abuse
       programs.

       1.1.05.3.4 Positive Test Result
       The First Lab Medical Review Officer (MRO) will review the test results of
       any "positive urine specimens." He/she will confirm that proper
       procedures were followed in the handling and analysis of the urine
       specimen. He/she will also review and interpret all specific test
       results.The MRO will then contact the employee directly to inform them of
       the "positive urine specimen" and to discuss possible legitimate medical
       or other reasons to account for the positive laboratory findings. When
       such legitimate reasons are found, the "positive urine specimen"
       becomes a negative test result and no further action is taken. When
       neither reasonable medical cause, nor lack of proper quality control of
       lab procedures are found , a "verified positive test" is determined. The
       MRO will then forward the name of the employee- who has the "verified
       positive test" to Company Management and to the required FAA officials.


       11.05.4 NOTICE TO THE FEDERAL AIR SURGEON
       Any covered employee who holds an airman medical certificate issued
       under 14 CFR Part 67 and violates the provision of these rules will be
       reported to the Federal Air Surgeon within two (2) business days.

       1.1.05.4.1 Notice of Refusals
       Any covered employee who holds an airman certificate issued under
       14CFR Part 61, Part 63 or Part 65 and refuses to submit to required
       random, post-accident, reasonable suspicion or follow-up drug testing
       will be reported to the FAA within two (2) business days. DOT/ FAA
       regulations define a refusal as listed below:
       •   Failure to appear for any test within a teasonable t ime, as
           determined by the employer, consistent with applicable DOT agency
           regu lations or company policies, after being directed to do so by the
           employer
       •   Failure to remain at the testing site until the testing process is
           complete

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           •    Failure to provide a urine specimen for any drug test required by this
                part or DOT agency regulations, and/or company policies
           •    In the case of a directly observed or monitored collection in a drug
                test, fai lure to permit the observation or monitoring of your provision
                of a specimen
           •    Failure to provide a sufficient amount of urine when directed, and it
                has been determined, through a required medical evaluation, t hat
                here was no adequate medical explanation for the failure
           •    Failure or declining to take an additional drug test the employer or
                collector has directed you to take
           •    Failure to undergo a med ical examinat ion or evaluation, as directed
                by the MRO as part of the drug test verification process
           •    Failure to cooperate with any part of t he testing process (e.g., refuse
                to empty pockets when so directed by the collector; behave in a
                conf rontational way that disrupts the collection process)
           •    As an employee, if the MRO reports that you have a verified
                adulterated or substituted test result, you have refused to take a
                drug test
               NOTE: More information on refusals can be found in 49 CFR Part
               40.191.

           11.05.4.2 Permanent Disqualific-.tion from Service
          If a covered employee is determined to have violated the on-,duty use of
          drugs and/ or alcohol, t hey are permanently precluded from performing
          the safety-sensitive duties they performed before such a violation.There
          are two circumstances under which employees who engage in prohibited
          use of drugs and/or alcohol are absolutely barred from performance of
          the same duties performed before the determination of such use
           •    Two Verified Positive Drug Tests
                If an employee is determined to have two verified positive drug tests
                after September 19, 1994, then they are permanently prech_ided
                from performing the safety-sensitive function they performed before
                the second drug test. The bar on two-time violators applies to both
                persons who have gone t hrough rehabilitation and to those who after
                evaluation were determined not to need treatment.
           •    On Duty Use of a Prohibited Drug




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           If an employee is determined to have used a prohibited drug whi le
           performing a safety-sensitive function after September 19, 1994,
           then they are permanently precluded from performing that safety-
           sensitive function for an employer.


       11.05.5 NON-DOT COMPANY TESTING (DRUG & ALCOHOL)

       :11.05.5.1 Employees Subject to Testing
       All company employees are subject to testing under company policy or the
       DOT. These employees are subject to the following types of testing below:

       11.05.5.2 Pre-Employment Testing
       A candidate must pass a pre-employment test. When instrLlcted to report
       for pre-employment testing, a candidate must do so within 48 hours of
       notification unless otherwise specified.

       :11.05.5.3 Post-Accident
       A Post-Accident test must be completed as soon as possible after any
       accident. The testing will apply to any employees whose performance
       may have been a contributing factor to the accident, or cannot be
       completely discounted. With management discretion (and approval from
       the Drug and Alcohol Program Manager, Drug and Alcohol Program
       Administrator, Director of Human Resources, or Director of Operations)
       the employee may return to work following the test if a Rapid Test kit is
       used, and a negative result is received. If a Rapid Test kit is not used, the
       employee is suspended pending receipt of the result. As long as the
       result is negative, the employee may return to work and will be paid for
       lost time. (In the case of injury to the employee, obtaining necessary
       medical assistance will take priority over the testing. In such cases,
       testing must be accomplished as soon as medically reasonable).

       11.05.5.4 Reasonable Suspicion
       If Frontier has determined that reasonable suspicion exists, an employee
       may be requested to submit to a test. Observations may occur during,
       just proceeding, and/or at the end of the work shift. With management
       discretion (and approval from the Drug and Alcohol Program Manager,
       Drug and Alcohol Program Administrator, Vice President, Human
       Resources & Labor ,Relations, or Director of Operations) the employee
       may return to work following the test if a Rapid Test kit is used and a
       negative result is received. If a Rapid Test kit is not used, the employee is
       suspended pending receipt of results. As long as the result is negative,

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           the employee may return to work and will be paid for lost t ime. Refer to
           Frontier's Reasonable Suspicion Policy for more information regarding
           procedures.
             NOTE: In circumstances requiring Post-Accident or Reasonable
             Suspicion testing, management or designee must escort the
             employee to the collection site and arrange for transportation home.

           11.05.5.5 Return-to-Work and Follow-Up
           A Return-to-Duty and Follow-Up tests are administered only when an
           employee has disclosed an addiction and requests assistance prior to
           any test notificat ion. Upon completion of an approved rehabil itation
           program. the employee is al lowed to return to work after he/she has
           taken a return-to-duty test wit h negative results. Frontier requires full
           compliance with any additional treatment or aftercare recommended by
           a Substance Abuse Provider. Documentation of compliance may be
           requested at any time. The employee will also be placed in the Follow-up
           testing program which consists of unannounced testing at least six (6 )
           times within the first twelve (12) months and up to sixty (60) months.
           after as Frontier deems necessary. Non-compliance with any portion of
           recommended t reatment, aftercare or testing may result in discip'linary
           action up to and including suspension or termination.

           11.06.5.6 Prohibited Usage
           Alcohol is defined as the intoxicat ing agent in beverage alcohol, ethyl
           alcohol, or other low molecular weight alcohol, including methyl or
           isopropyl alcohol. Alcohol use is defined as the consumption of any
           beverage, mixture, or preparation, including any medicat ion, containing
           alcohol.
             NOTE: Frontier's policy and DOT/ FAA regulations prohibit reporting
             for or remaining on duty while having an alcohol concentration of
             0. 04 or greater.

          11.05.5.7 Pre-Duty Use
          Any employees performing t he listed safety-sensitive functions are
          subj ect to alcohol testing and must refrain from consuming any alcohol
          (not just alcohol beverages) whenever they are performing, ready to
          perform, or immediately availabl e to perform these functions. Employees
          will normally be asked to test for alcohol when they have reported to
          work. In addition, no covered employee shall perform any of the listed
          safety-sensitive functions within eight (8 ) hours after cons-u rning alcohol



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         Example: 1
           Our Ground Security Coordinators are on call to perform ground
           security coordinator functions at any time during their work day. Even
           though these functions might not be performed during the regular
           work day, the individual would be subject to testing the entire
           workday because he is immediately available to perform the
           functions of the ground security coordinator.

         Example: 2
           A Pilot on-call for duty while at home has not violated the regulations
           if he has an alcoholic beverage unless he reports for duty within
           eight (8) hours of consuming such alcohol. He is not subject to
           alcohol testing until he reports for work. Therefore, if he is called to
           work and has consumed alcohol within the eight (8) hour time frame,
           he would have to decline to report until eight (8) hours have passed
           with no alcohol consumption. Therefore, an employee on call for duty
           at home is still not to consume any alcohol until their duty day is
           complete. A Pilot waiting to fly an aircraft in the employee's lounge is
           subject to testing as he is immediately available to fly the aircraft.

         Example: 3
           An administrative employee who is available to perform aviation
           screening duties from 8 a.m. to 12 noon in order to cover for an
           absent employee would be subJect to testing during those hours
           even if no covered functions were actually performed

       11.05.5.8 On-Duty Use
       Covered employees may not consume alcohol while performitig safety-
       sensitive functions. This prohibition also applies to covered employees
       who are at work and immediately available to perform safety-sensitive
       functions.

       11.05.5.9 Following an Accident
       Covered employees with knowledge of an accident involving an aircraft
       for which they performed a safety-sensitive function at or near the time of
       the accident may not use alcohol for eight (8) hours after the accident
       unless they have been given a post-accident test, or Frontier has




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           determined that their performance could not have contributed to the
           accident.
               NOTE: Accident is defined as an occurrence associated with the
               operation of an aircraft which takes place between the time any
               person boards the aircraft with the intention of flight and the time
               that all such persons have disembarked, and in which any person
               suffers death, or serious injury or in which the aircraft receives
               substantial damage


           11.05.6 CONSEQUENCES FOR VIOLATING THE RULES OF THE
           AMPP

           1.1.05.6.1. Consequences
           Employees will be discharged who:
           •     Receive a verified confirmed positive alcohol test result equal to or
                 greater than 0.04.
           •     Fail to report to a designated collection site as directed within an
                 allotted time frame.
           •     Refuse to take the test.
           •     Fail to provide a sufficient amount of breath (without adequate
                 medical explanation and documentation).
           •     Tamper with, adulterate, or substitute the test.
          In the event any employee is found to have an alcohol concentration of
          0.02 or greater but less than 0.04, that employee will be immediately
          removed f rom performing job functions, until the employee is retested
          with a result below 0.02, or until the start of the employee1s next regu larly
          scheduled duty period, if it occurs at least 8 hours following
          administration of the test. For the first offense the employee will be
          placed on a written warning. For the second offense the employee will be
          placed on a f inal termi•nation warning, Further violations will result in
          employment separation.

           1.1..05.6.2 Removal From Safety-Sensitive Functions
           Covered employees are prohibited from performing safety-sensitive
           functions if they have engaged in prohibited conduct under the FAA rule
           or other DOT agency's alcohol misuse rule (including refusal to submit to
           random, reasonable suspicion, or post-accident testing). Such employees
           Will be immediately removed from duty and as per Company Polley will be
           subject to discipline up to and including termination.

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       1.1.05.6.3 Refusal to Submit to Testing
       Covered employees may not refuse to submit to a post-accident, random,
       reasonable suspicion, or follow-up alcohol test. Frontier will not permit an
       employee who refuses to submit to such a test to perform or continue to
       perform safety-sensitive functions. Employees who refuse to submit to
       the required testing will be immediately removed from duty and will be
       subject to discipline up to and including termination. DOT/ FAA
       regulations define a refusal as listed below:
       •    Failure to appear for any test with.in a reasonable time, as
            determined by the employer, consistent with applicable DOT agency
            regulations or company policies, after being directed to do so by the
            employer
       •    Failure to remain at the testing site until the testing process is
            complete
       •    Failure to provide sufficient breath for any test required by this part
            or DOT agency regulations, and/or company policies
       •    Failure to provide a sufficient amount of breath when directed, and it
            has been determined, through a requirecl medical evaluation, that
            there was no adequate medical explanation for the failure
       •    Failure or declining to take an additional test the employer or
            collector has directed you to take
       •    Failure to undergo a medical examination or evaluation; as directed
            by the employer as part of the insufficient bre.ath procedures
       •    Failure to cooperate with any part of the testing process
       •    Failure to sign the certification at Step 2 on the Alcohol Testing Form
           NOTE:     More information on refusals can be found in 49 CFR Part
           40.261.


       11.05. 7 DRUG AND ALCOHOL- FREE WORKPLACE POLICIES
       You, our employee, are Frontier's most valuable resource and for that
       reason, your health and safety are of paramount concern. Frontier is
       committed to maintaining a safe work place free from the influence of
       drugs and alcohol. Drug and alcohol abuse imperils your health and well
       being and our guests. The unlawful manufacture, distribution,
       dispensation, possession, use or being under the influence of illegal
       drugs or other controlled substances or alcohol, in the workplace, is
       inconsistent with the law and Company Policies.




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           Emp1·oyees are required to report to work in appropriate mental and
           physical condition to perform their jobs in a satisfactory and safe
           manner. Given the nature of our business and our obligation to ensure
           flight safety, Frontier has adopted the following policies. We ask for your
           full cooperation in supporting these policies and educating others
           regarding the risks associated with substance abuse.


           11.05.8 RECREATIONAL USE/MEDICAL MARIJUANA
           While some states have enacted various marijuana laws permitting the
           use of marijuana for medical and/or recreational use, the federal
           government continues to classify marijuana as a Schedule I controlled
           substance with no recogn ized or authorized use. For employees who test
           positive for marijuana on a DOT or Non-DOT drug test, marijuana use
           cannot be accepted by the MRO as "authorized medical use of a
           controlled substance" and the test will be reported as positive. A verified
           positive drug test is a violation of Company policy and will result in
           disciplinary or employment actions as described herein.




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                                    GENERAL POLICIES
                                                                               I
           11.10.1 PRESCRIPTION (RX) AND OVER-THE-COUNTER (OTC)
           DRUGS

           1.1.10.1.1 Employee's Responsibility
           Prescription drugs are medications prescribed by a physician for a
           specific medical purpose. These medications are controlled due to their
           potential for abuse or harm. They are meant to be taken under t he
           supervision of a physician who can monitor the effect and modify the
           dosage or discontinue its use as a person's condition warrants. The
           prescription defines how m uch of t he drug to take, how of ten, and for
           how .long. A prescription drug that is not taken according to the directions
           may be addictive, harmful or deadly.
          Employees have the responsibility to explain their job duties to their
          physicians and ensure the use of prescribed medication will not pose a
          safet y risk. In the interest of protecting our employees and our guests,
          safety-sensitive employees must make sure that any prescribed drug or
          combination of drugs being taken will not adversely impact their j ob
          performance. If a test result indicates the presence of a prescribed
          medication, the Medical Review Officer (MRO) will contact the donor. The
          donor should be prepared to offer prescrlpt ion and physician
          information.


           11.10.2 PRESCRIPTION MEDICATION -SAFETY CONCERNS
           If a drug test result indicates the presence of a medication, the MRO will
           cont act the donor. If the donor reports the use of a medication(s) t hat
           may pose a significant safety risk or make the employee medically
           unqualified for a safet y-sensitive position, t he MRO wi ll place a "Safety
           Concern" or "Medical Concern" on the result. The employee will be sent
           to a licensed physician approved by the company to determine if the
           medication can be changed to one that does not make t he employee
           medically unqualified or does not pose a significant safety risk.
             NOTE: Frontier reserves the right to deny safety-sensitive positions,
             or remove from safety-sensitive positions, anyone who has a
             condition or medication that causes a safety concern.


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       11.10.3 PROHIBITED CONDUCT
       The following situations or conditions are examples of violations of
       Frontier's Drug and Alcohol-Free Workplace Policies while reporting to
       work, or being on or leaving duty.
       •     The sale, manufacture, distribution, use, purchase or possession of,
             non-prescribed drugs (meaning non-prescribed narcotics,
             hallucinogenic drugs, marijuana or other non-prescribed controlled
             substances), or equipment, products, materials which are used,
             intended for use, or designed for use with such drugs, is prohibited
             while on Company property or during work hours.
       •     Reporting to work or being at work while under the influence of, or
             impaired by, alcohol or non - prescribed drugs is prohibited . An
             employee who has an alcohol level of greater than .04% is deemed
             to be under the influence according to this policy.
       •     Reporting to or being at work with any amount of illegal or prohibited
             or non-prescribed drugs in the employee's body.
       •     Reporting to or being at work while under the influence o.f or using
             prescribed .narcotics or drugs, or over-the-counter medication may
             also be prohibited where, in the opinion of Frontier, such use
             prevents tlie employee from performing the duties of his or her job or
             poses a risk to the safety of the employee or other persons or
             property.
       •     Possessing, using or transferring illegal drugs while on Company
             premises while on or off duty. Company premises include offices,
             work locations, desks, lockers, parking lots, any vehicle or aircraft
             used for company operations or any property under the control of
             Frontier.
       •     The use of illegal or synthetic marijuana products is prohibited under
             this policy.


       11.10.4 DISCIPLINARY ACTION
       Any violation of Company policies referred to in this Chapter, including the
       refusal to submit immediately to a requested search or test, or a positive
       result on such test(s), may result in disciplinary action up to and
       including immediate discharge.
           NOTE: It is important to remember that all employees are covered
           under Frontier policies and may be tested under those policies at
           any time. Frontier reserves the right to notify the FAA of failure of any
           company drug or alcohol test; DOT or NON-DOT.

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           11.10.5 SEARCH POLICY

           Where there is reason to believe an employee is under the influence of or
           impaired by alcohol. or drugs, or in the possession or control of prohibited
           alcohol or drugs; Frontier may search any company property and/or an
           employee's personal property on company property. This includes, but is
           not llmited to vehicles, handbags, briefcases, hls/her person and/or
           property.
           Company property covered in this policy includes property of any nature
           owned, control led or used by Frontier, including but not limited to parking
           lots, offices, desks, file cabinets, lockers and company vehicles.


          11.10.6 TESTING EMPLOYEES BASED ON REASONABLE
          SUSPICION

           At least two (2) supervisors, one of whom is trained in t he detection of
           the symptoms of possible drug or alcohol use, shall substantiate or
           concur in the decision to test an employee who is reasonably suspected
           of drug or alcohol use.The decision to drug test must be based o·n
           reasonable and articulated belief that an employee is using a prohibited
           drug or alcohol on the basis of speci:fic physical, behavioral, and/ or
           performance indicators.


           11.10.7 TRAINING REQUIREMENTS
           FM regulations state that supervisory personnel who will determine.
           when an employee is subject to testing based on reasonable cause shall
           receive training on specific, physical, behavioral, and performance
           indicators of probable drug use and the physical , behavioral, and
           performance indicators of probable alcohol use.Attendance is required at
           Initial Training at the t ime of hire or promot ion into a supervisory position
           and at recurrent t raining as provided by the Company


           11.10.8 EMPLOYEE ASSISTANCE FOLLOWING SELF
           DISCLOSURE

           Frontier has established an Employee Assistance Program (EAP) Which is
           available to assist employees with substance abuse problems. This
           program is available to employees who voluntarily seek assistance before


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       a situation arises which could lead to a disciplinary termination.
       Employees may apply for FMLA or medical leave in association with their
       treatment for substance abuse. If this is the case, the application will be
       considered self-disclosure and the employee will be responsible for
       complying with return to work, follow-up testing and any other applicable
       policies or procedures.
       Contact the Drug and Alcohol Program Manager or Drug and Alcohol
       Program Administrator for assistance enrolling in the Drug and Alcohol
       EAP Program.
       Following an employee's completion of a rehabilitation program they are
       required to pass a drug/alcohol test prior to returning to work. Frontier
       requires compliance with any additional treatment, aftercare or support
       group services recommended by a Substance Abuse Provider.
       Documentatioti of compliance may be requested at any time. The
       employee Will also be placed in the Follow-up testing program Which
       consists of unannounced testing at least six (6) times within the first
       twelve (12) months and further unannounced testing continuing up to
       sixty (60) months after as Frontier deems necessary. Non-compliance
       with any portion of recommended treatment, aftercare or testing may
       result in removal from performance of safety-sensitive functions.Whether
       an employee will be granted the opportunity for assistance under this
       program upon voluntary disclosure for a second time will be at the sole
       discretion of Frontier.


       1.1..1.0.9 FINANCIAL ASSISTANCE FOR TREATMENT
       Frontier's group health insurance programs provide limited coverage for
       certain rehabilitation services. Please consult the Program Manager or
       Program Administrator, for specific details.


       11.10.10 CONFIDENTIALITY
       Test results Will be reported and maintained on a confidential basis,
       except when disclosure is necessary to .respond to a challenge regarding
       the validity of the result, per government regulation or necessary for
       responding to individual employee situat ions.




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                                      DEPENDABILITY
                                                                                 I
          It is essential for any organization to have employees in their
          workstations at their -expected times for the orderly operation of their
          business and Frontier is no exception. We understand employees are
          absent on occasion or are late to work for reasons beyond their control.
          For that reason, tracking attendance, absences or tardiness, is not
          intended to reflect negatively on any employee, but to treat everyone
          fairly and impartially.
           You are expected to return to active status after any absence or leave as
           soon as you are capable of resuming your job duties. You should
           personally contact your supervisor through local reporting procedures. If
           your supervisor is unavailable, you should contact the next level of
           management available. Flight crewmembers should contact Crew
           Scheduling.
           Frontier recognizes that some reasons for absence are appropriately
           excluded from being counted towards corrective action. Absences for
           approved leaves shall not be counted, provided proper documentation is
           produced and approved in advance of the event, or if unforeseeable,
           within the required time frame after the event.
           Absences or tardiness due to previous overtime, road trips, scheduled
           training classes, weather conditions or individual (such as a recognized
           disability-related situation) or facility/business conditions will be handled
           on an individual basis as approved by the manager of the department.
          Attendance records are not part of an employee's personnel record
          unless disciplinary action is necessary. The actual attendance record will
          be maintained by each employee's immediate supervisor/manager.
           The policies stated in this section supersede and replace all prior
           conduct and disciplinary policies and procedures. If a policy in this
           section conflicts with a provision of a collective bargaining agreement or
           the department's handbook, the provisions in the collective bargaining
           agreement or the department's handbook will be followed.
           Anyone that calls in sick prior to a vacation or holiday, has a pattern of
           absence during specific days of the week, has a pattern of absence as
           soon as an occurrence has dropped off, takes days off under the guise of
           illness or not receiving an approved vacation then calling in sick may be
           subject to corrective action, up to and .including separation from Frontier.


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       12.05.0.1. Occurrences of Absenteeism/Tardiness for Non Crew
       The focus of this program shall be frequency of "occurrences" of
       absenteeism/tardiness based on a cumulative occurrence system. An
       occurrence shall be a continuous absence from scheduled duty or
       reporting late to work or failing to complete a scheduled shift.
       Occurrences of absenteeism/tardiness will vary in duration according to
       the nature of the event, and may range from 6 minutes (tardiness) to
       several weeks or more for a single event within a rolling twelve-month
       period. (Example: Reporting late more than 2 hours for a scheduled duty
       shift or an entire day's absence for a cold is one occurrence. Three
       consecutive day's absence due to having the flu shall be one occurrence
       or event.) If an absence is expected to last more than one week for a
       single event, the employee must apply for an approved leave. If a leave is
       not approved, each day the employee is absent beyond the first week will
       count as an additional occurrence.
       Occurrences for absenteeism/tardiness shall occur and accumulate,
       beginning at O resulting in termination at 8, within an active rolling
       twelve-month period. Occurrences will be issued as follows:
       A.   Tardiness/Lateness = 1/2 Occurrence
            An employee reports 6 minutes late but less than 2 hours late for a
            scheduled duty shift or fails to complete the scheduled shift.
       B.   Absenteeism/Sick Call = 1 Occurrence
                An employee is absent from schedul'ed work (more than 2 hours)
                or scheduled duty shift.
                Employee fails to return to work from vacation or leave on the
                day and time set for return.
                An employee who shows up more than 2 hours late may be
                subject to being sent home without pay for any time not worked.
       C.   No Call/No Show= 2 Occurrences
            An employee fails to report an absence prior to the scheduled start
            of their shift or return to work from vacation or leave on the day and
            time set for return. Two (2) consecutive days without authorization or
            no call/no show notification to management Will be considered a
            voluntary termination. The only exception for an employee unable to
            "no calljno show" is if they are personally hospitalized or otherwise
            unable to call due to unusual circumstances that are beyond the
            control of the employee. Two (2) NCNS within 12 months will,
            regardless of occurrence total, be grounds for termination.


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           12.05.0.2 Occurrences of Absenteeism/Tardiness for Flight
           Attenda nts
           The focus of this program shall be frequenGy of "occurrences" of
           absenteeism/tardiness based on a cumulative occurrence system. An
           occurrence shall be a continuous absence from scheduled duty or
           reporting late to work or failing to complete a scheduled shift. (Example:
           Reporting late more than 2 hours for a scheduled duty shift or an entire
           day's absence for a cold is one occurrence. Three consecutive day's
           absence due to having the flu shall be one occurrence or event). If an
           absence is expected to last more than one week for a single event, the
           employee must apply for an approved leave. If a leave is not approved,
           each day t he employee is absent beyond the first week will count as an
           additional occurrence.
           Occurrences shall occur and accumulate within an active rollJng twelve-
           month period, beginning at o and resulting in termination at 8, within an
           active rolling twelve-month period. Occurrences will be issued as follows:
           •   Tardiness/ Lateness= 1/2 Occurrence
       I       An employee reports less than 2 hours late for a scheduled duty shift
               or fails to complete the scheduled shift.
           •   Absenteeism/ Sick Call= 1 Occurrence
                   An employee is absent from scheduled work (more than 2 hours)
                   or scheduled duty shift.
                   Employee fails to return to work from vacation or leave on the
                   day and time set for ret urn.
                   An employee who shows up more than 2 hours late may be
                   subject to being sent home without pay for any time not worked.
           •   No Call/ No Show = 2 Occurrences
               An employee fails to report an absence prior to the scheduled start
               of their shift or return to work from vacation or leave on the day and
               time set for return. Two (2) consecutive days without authorization or
               ho calljno show notif ication to management Will be considered a
               voluntary terminat ion. The only exception for an employee unable to
               "no call/no show" is if they are personally hospitalized or otherwise
               unable to call due to unusual circumstances t hat are beyond the
               control of the employee. Two (2) NCNS within 12 months will,
               regardless of occurrence total, be grounds for termination.




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       12.05.0.3 Progressive Policy
       Corrective action is progressive in nature, but may be implemented or
       accelerated at any step, including termination, depending upon the
       severity of the situation and prior discipline for performance. Example: In
       the case of a no call/no show and an employee's failure lo properly notify
       their supervisor/manager of absence pursuant to this policy for a period
       of two or more days, termination will be warranted on the first offense or
       considered voluntary separation of employment. Any step of corrective
       action may be issued without issuing the prior corrective action warnings
       if the employee. accumulates the applicable number of occurrences.


        Time Period     Within Previous 12 Months
        Number of       4            6            7                8
        Occurrences
        Type of         Verbal       Written        Final          Termination
        Corrective                                  Suspension
        Action

       12.05.0.4 Corrective Actions for Excessive Dependability Occurrences

       Step 1 - Verbal Warning
       After the accumulation of 4 Dependability Occurrences within an active
       rolling twelve-month period, the employee will be notified by their
       supervisor/ manager that their Dependabllity is a problem that needs
       their attention. During this discussion, the supervisor/manager will
       review the Dependability policy with the employee and ensure that the
       employee: 1) has a copy of the policy; 2) understands the policy, and: 3)
       the employee understands the corrective steps that will be taken if there
       are continued problems with Dependability. The employee is to sign that
       they have received a copy of the Attendance Policy. This First Warning
       and signature of receipt of this policy will be forwarded to t he Human
       Resources Department and placed in the employee's personnel file.

       Step 2 - Written Warning
       After accumulating 6 Dependability Occurrences of tardi ness/ absence
       within an active rolling twelve month period, the employee wil l be given a
       Warning Letter to inform the employee that their Dependability is
       unacceptable and must improve. The letter will describe corrective
       actions that may be taken, up to and including termination if poor
       Dependability continues. This Warning Letter will be placed in the
       employee's personnel file.


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          Step 3 - Final Warning/Suspension
           If an employee accumulates 7 Dependability Occurrences in an active
           rolling twelve-month period, the employee will be issued a Final Warning
           Letter that their Dependability is unacceptable and that they will receive
           a three day unpaid suspension from work. The timing of the suspension
           will determined by the manager and Human Resources and based on
           operational needs. The employee will be informed that this is the final
           warning before termination. This Final Warning Letter will be placed in
           the employee's personnel file.

          Step 4 - Discharge or Termination
          If the employee accumulates 8 Dependability Occurrences within a rolling
           twelve-month period, the employee will be subject to termination of
           employment with Frontier.

          12.05.0.5 Notification
          Employees (not spouses, relatives or others, except in unusual
          circumstances) must personally contact their immediate supervisor or
          their supervisor's manager through local reporting procedures (Crews
          should contact Crew Scheduling) prior to the beginning of their
          scheduled shift if it will be necessary for the employee to be absent or
          late to work. If the employee knows in advance that they Will be absent,
          notification should be made as far in advance as possible.

          12.05.0.6 Management Guldellnes
          Correct ive actions should be administered by the employee's direct
          supervisor/manager within f ive (5) working days after the employee
          returns to work, unless unusual circumstance or other business
          demands prevail. Any level of discipline shall be reviewed and approved
          by the supervisor's manager prior to communications with the em ployee.
          Management and Human Resources have the discretion to suspend an
          employee (with or wit hout pay) pending an investigation before
          terminat ion.
             NOTE: The appropriate Vice President of the Department must
             approve all terminations prior to informing the employee by any
             supervisor or manager. The Senior Director, Human Resources
             should a/so be notified in advance of any termination.




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       12.05.0.7 Attendance Awards/Point Deductions
       In an effort to recognize employees who achieve perfect attendance for a
       sustained period of time and to allow more flexibility, all regularly
       scheduled, non-salaried employees are eligible to receive the following
       attendance awards:

       Three Months - Rolling Calendar (Begins at last attendance
       occurrence}
       Perfect Attendance is defined as no attendance occurrences (tardy,
       absence, NCNS, etc.) other than approved vacations. Absence from work
       due to any type of approved leave of absence (LOA) will be counted as an
       attendance occurrence when determining Perfect Attendance.
       After a block of 3 consecutive months of Perfect Attendance, an
       employee will earn back ½ occurrence; this ½ occurrence will be
       credited to their total. The employee may accumulate up to -2 (negative
       2) occurrences. At no time can an employee's occurrence total
       ("occurrence bank") be lower than -2 (negative 2). If an employee is at -2
       occurrences and becomes eligible to receive a Perfect Attendance award,
       no occurrences will be earned back (credited to their bank).
       After receiving a Perfect Attendance award for 3 months of Perfect
       Attendance, an employee cannot earn additional occurrence credits
       under this provision until they have completed an additional 3 months of
       Perfect Attendance. For example, if an employee had no occurrences
       from March 1 through May 31, the employee would earn back ½
       occurrence. In order to earn an additional ½ occurrence credit, the
       employee must then have Perfect Attendance from June 1 through
       August 31.
       Perfect Attendance credits will be redeemed to cover future occurrences.
       Credits redeemed for an occurrence will not be added back to the point
       total when the occurrence rolls off.

       Six Months
       In addition to any earned Occurrence bank credits, each full-time
       employee who attains a consecutive six-month period of perfect
       attendance will be entitled to 4 hours of paid time off for each such
       period. An additiona·1 4 hours will be awarded for each 12 consecutive
       months of perfect attendance. If an employee has perfect attendance for
       a rolling 12-month period, the employee would receive 4 hours of paid
       time off for the first six month period, 4 hours of paid time off for the
       second six month period, and 4 hours of paid time off for the rolling 12-
       month period, for a maximum attendance award of 12 hours.

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           Each part-time employee who attains a consecutive six-month period of
           perfect attendance will be entitled to 3 hours of paid time off for each
           such period. An additional 3 hours will be awarded for each rolling 12-
           month period of perfect attendance. If a part-time employee has perfect
           attendance for a rolling 12-month period, the employee would receive 3
           hours of paid time off for the first six month period, 3 hours of paid time
           off for the second six month period, and 3 hours of paid time off for the
           rolling 12-month period, for a maximum attendance award of 9 hours.

           Flight Attendants
           Full-time Flight Attendants achieving perfect attendance for a period of 6
           consecutive months will be entitled to an award equal to 2 hours of pay
           for each 6-month period. An additional 2 hours will be awarded for
           perfect attendance over a rolling 12-month period. The maximu m
           attendance award per 12-month period shall be 6 hours for full-time
           Flight Attendants.
           Part-time or job share Flight Attendants achieving perfect attendance for
           a period of 6 consecutive months will be entitled to 1 hour of pay for
           each 6-month period. An additional 1 hour will be awarded for perfect
           attendance over a rolling 12-month period. The maximu m attendance
           award per 12-month period shall be 3 hours for part-time and job share
           Flight Attendants.




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       12.05.1 GENERAL GUIDELINES

       1.2.05.1.1 Probationary Employees
       Newly hired employees at 9 or less months of employment may be
       terminated at any level of the corrective action process unless otherwise
       covered under a collective bargaining agreement.

       1.2.05.1..2 Transfers/ Promotions

       Corrective Action - Time Period
       Any correct ive action administered under the Dependability policy Wil l
       remain in effect for an active twelve-month period from the date of the
       warning at the level it was issued, even if the employee's Dependability
       Occurrences fall below the most recent disciplinary leveL At the end of
       t he twelve month period, the corrective action will no longer be effective,
       provided no other warnings have occurred. Example: A written warning for
       absence given on May 1 will no longer be effective on May 1 of the
       following year. Second example: If a final written warning was given for
       attendance on July 12, while the fi rst written warning was still in effect
       (from May 1), the final written warning will remain in effect until twelve
       months have passed from the date it was issued (July 12), provided no
       other warnings have occurred. Regardless of the number and type of
       warning letters currently in effect, when 8 Occurrences are accumulated
       in a 12 month period, the employee will be subject to discharge or
       termination. The corrective action will remain in the employee's file.

       1.2.05.1.3 Effect of Disciplinary Actions on Leaves of Absences
       Any employee with a corrective action who is absent on any ty'.pe of leave
       of absence in excess of thirty (30) days (example: Military, Medical,
       Personal, Workers' Comp, FMLA, STD, etc.) will have his/her corrective
       action effective period (rolling 12 month period) extended by the duration
       of their leave of absence.

       1.2.05.1.4 Effect of Disciplinary Actions/ Suspensions on Retiree Flight
       Benefits
       Any employee who has been given notice of a hearing or suspension
       whfch could lead to employment termination will not be elfgible for retiree
       f light benefits as outlined in the Travel Handbook.




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           12.05.1.5 Doctor's Statement(s)/ Other Documentation
           For absences affecting three or more workdays, a Doctor's statement(s)
           may be required. It is the employee's responsibility to provide Doctor's
           statement(s) or ensure statements are sent to their supervisor in a timely
           manner. It is not the responsibilit y of the supervisor or Frontier to follow
           up for the employee when the employee returns. to work. In addition, the
           employee's manager may require a Doctor's statement(s) or other
           supporting documentation from other individuals or sources, for any
           Dependability Occurrences.
           All Doctor's statement(s) submitted must include the names of t reating
           physician(s), relevant dates/times under t heir care, and when t he
           employee may return to work. A doctor' s note does not excuse an
           employee's requirement to apply for a leave of absence (reference
           08.05); a doctor's note only consolidates absences after t he first week.
           An employee must apply for a ·1eave of absence for one week (as defined
           by the employee's work schedule).

           12.05.1.6 Status To Return .. Company's Right
           Frontier reserves the tight to send an employee to a Doctor of its
           choosing, at Frontier's expense, to assist Frontier in determining an
           employee's ability to report, ret urn or remain at work. Failure by an
           employee to cooperate in this matter could be subject to corrective
           action up to and including termination.

           12.05.1.7 Falsified Claims
           An employee who is found to have falsified a sick claim, failed to return
           from sick leave or a leave of absence as soon as physically able to do so
           or who is found to have incurred an event of absenteeism for a reas0n
           that was not beyond the control of the employee could be subject to
           corrective action up to and including termination.




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                                   CORRECTIVE ACTION
                                                                                I
           13.05.1 INTRODUCTION
           Corrective action will be administered if an employee does not exhibit
           behaviors conducive to expectations explained in this manual. Violations
           of conduct, safety, other general rules, operating procedures and/ or
           regulations will subject you to corrective actions up to and including
           separation from Frontier.
           Any level of corrective action shall be reviewed and approved by the
           direct supervisor's manager before meeting with an employee. It is also
           recommended that a supervisor or manager consult with Human
           Resources to ensure corrective action is administered with regard to
           appropriate laws, regulations and/ or policies.
           In general, the following steps Will. be taken in any corrective proceeding
           and the process will generally be progressive in nature. However, in the
           case of f.lagrant, serious or continuous violations, at the discretion of
           Frontier, corrective action may begin at any of the levels listed below or
           may lead to termination of employment. For further information
           concerning the Appeal Process regarding corrective actions, see13.05.3
           below.

          Step 1:
          A Documented Verbal Warning is the first step in corrective action. The
          supervisor .and employee should discuss the issue clearly and set
          expectations going forward . The supervisor should log the discussion for
          future reference. If the behavior or situation continues or if other
          violations occur the next step will be administered.

          Step 2:
           A Written Warning wi ll be issued. The supervisor should meet with the
           employee to further discuss the continued behavior and explain the
           severity of the written warning. If the behavior or situation continues or if
           Qther violations occur the next step will be administered_




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       Step 3:
       A Final Warning/Suspension will be given. This may include a three day
       suspension from work without pay based on operational need. The
       supervisor should meet with the employee to discuss the situation.

       Step 4:
       Discharge or Termination is t he f inal step, If a situation or violation(s) has
       not been corrected or continues to occur, at the supervisor's discretion,
       the employee may be suspended (with or without pay) pending discharge
       review.


       13.05.2 GENERAL GUIDELINES

       U.05.2.1 Corrective Action Letter to Employee

       CPCR ~ Performance Counseling Record)
       During the corrective action discussion, the supervisor and employee
       should review the Corrective Action policy to ensure the employee knows
       the steps of the process. A copy of the PCR will also be provided to the
       employee and the employee will be encouraged to sign it. All original
       letters and PCRs and signat ure of receipt of this policy will be forwarded
       to the Human Resources Department (HR). HR will place t he documents
       in the employee's Personnel File.

       Corrective Action - Five Working Days
       Corrective actions should be administered within five (5) working days (or
       sooner) after the violation or conduct, or when the employee returns to
       work, by the direct supervisor, unless unusual circumstance or other
       business demands exist. The supervisor and Human Resources has the
       discretion to suspend an employee (with or without pay) pending
       investigation prior to termination.

       Corrective Action - Accelerated
       The corrective action process is progressive in nat ure but may be
       implemented or accelerated at any step depending upon the severity of
       the situation, For example, if an em ployee does not call or show f or his/
       her shift (no call - no show) for a period of two or more days, separation
       will be considered voluntary.




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           1.3.05.2.2 Effect of Disciplinary Actions on Transfers/ Promotions
           Employees on a final written warning level of discipline will not be eligible
           for Employee initiated transfers or promotions within a twelve month
           period from the date of the final warning unless otherwise covered under
           a collective bargaining agreement, the department's handbook or
           Frontier determines, at its discretion, that an exception should be made
           due to current business needs.

           1.3.05.2.3   Effect of Disciplinary Actions on Probationary Employees
           Newly hired or probationary Employees at 9 or less months of
           employment may be terminated at any level during the disciplinary action
           process unless otherwise covered under a collective bargaining
           agreement or the department's handbook.

           1.3.05.2.4 Disciplinary Action - Time Period
           Any level of disciplinary action dispensed will remain in effect for a
           twelve-month period from the date of the warning at t he level it was
           administered. At the end of the twelve month period, the disciplinary
           action will no longer be effect ive provided no other warnings have
           occurred .

             Example: A first written warning for absence given on May 1 will no
             longer be effective on May 1 of the following year.
             Example: If a second written warning was given for performance on
             July 12 of the same year, the second written warn ing will remain in
             effect until twelve months have passed f rom the date it was issued (or
             until July 12 of the following year) at the level it was issued. At the end
             of this twelve month period, the disciplinary action would no longer be
             in effect provided no other warnings have occurred. Disciplinary
             actions will remain in t he Employee's file, even when they are no longer
             in effect, and Frontier may consider the conduct that led to the
             performance warning when determining the level of discipline to issue
             for similar conduct in the future. For some Employees covered under a
             collect ive bargaining agreement the disciplinary action may no longer
             be effective unless otherwise required for compliance regarding the
             Pilot Record Improvement Act (PRIA).


           13.05.3 APPEAL PROCESS
           In t he course of your employment with Frontier, a situation may arise
           where you question the applicability of a Company policy or practice with


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       respect to corrective action that has been taken against you. Our aim is
       to ensure that all employees are treated fairly and in accordance with
       Frontier policies and procedures.
       As an employee, you have a right to present your appeal without fear of
       reprisal of any sort. An employee must complete the probationary period
       in order to utilize the appeal process. Appeals of discipline are allowable
       only at the written warning level or above. Any t ime period stated in this
       policy does not include weekends or holidays. Frontier believes that it is
       in the best interest of all parties to resolve any concerns in a prompt and
       fair fashion. Accordingly, the following procedure has been established to
       provide Frontier and the employee an avenue to address his/her
       concerns regarding disciplinary actions at the written warning level or
       above:

       13.05.3.1
       Any employee with a concern should first discuss the matter with their
       manager In an effort to resolve the problem before Initiating the appeal
       process.
       If the matter is not resolved the employee should submit a written
       statement to Human Resources, F9HRCommunications@FlyFrontier.com,
   I   within five (5) business days from the date of the cause of the appeal.
       Failure to make the submission within this time period will result in a
       waiver of appeal rights. The written statement must identify the basis for
       the appeal request and contain the full detailed complaint, including
       specific events, dates, names of parties involved, witnesses, policy that
       was violated, etc.
       Human Resources will facilitate a telephonic hearing, which wi ll be heard
       by the next level manager or appropriate designee not intimately involved
       in the decision that is being appealed.
       An employee may ask another employee who is in good standing to join
       the telephonic hearing. This supporting employee can listen, but may not
       participate unless asked to do so by the Company representatives.
       Confidential hearing details should not be discussed outside of the
       hearing.
       A decision Will be communicated to the employee as soon as possible
       following the hearing. If an employee does not receive the decision within
       fourteen (14) calendar days they can contact the Human Resources
       representative who facilitated the appeal to inquire about the status.
       This decision is final and binding.

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           1.3.05.3.2 Actions Not Appealable
           The following actions are not appealable:
           •   Any disciplinary action, regardless of nature, that does not result in a
               Written Warning level of discipline or above;
           •   Actions caused by a reduction in workforce;
           •   Actions affecting an employee who is employed on a temporary basis
               or an employee who is in training;
           •   Non-selection for promotion when the sole basis for the appeal is the
               allegation by the employee that they are better cjualified than the
               candidate selected for the position;
           •   Rate of pay;
           •   Performance evaluations;
           •   Company or employee benefits;
           •   Bonuses or profit sharing, or lack thereof;
           •   Work schedules: or
           •   Group appeals.
           Disciplinary action resulting from gross misconduct or from violations of
           the Dependability Policy is also not eligible for appeal. In these situations,
           Human Resources will perform a secondary review of the disciplinary
           action to ensure consistency with established policy.
           All employees covered by the appeal process have the right to present
           their complaint or appeal free from fear of reprisal, 1  lnterference or
           discrimination. Any violation of this right will subject the violator t0
           corrective action and should be reported to Human Resources.




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                      ANTI-CORRUPTION COMPLIANCE POLICY                            I
           This policy outlines Frontier's expectations of its employees who conduct
           company business with foreign customers, contractors, government
           officials, commercial partners or any other individuals covered by the
           Foreign Corrupt Practices Act ("FCPA") or any other applicable anti-
           corruption laws. Frontier's policy is to fully comply with the letter and spirit
           of the FCPA and all other anti-corruption laws to which it may be subject.
           Specifically, it is Frontier's policy that Frontier personnel and third parties
           acting on its behalf shall not corruptly pay, offer, promise or authorize, or
           take, solicit or accept for his or her personal benefit, any bribe, kickback
           illicit payment or advantage, in money or in any kind, to or from any
           foreign official or to or from any other person or entity, including any
           representative of any actual or potential customer, partner or other
           counterparty. This policy applies to prohibit corrupt offers or payments to
           government personnel and private parties inside or outside the United
           States. In addition, this policy prohibits Frontier personnel from soliciting
           or receiving any bribe, kickback or other corrupt inducement.


           14.05.1 THE FCPA'S GENERAL PROHIBITION AGAINST
           CORRUPT PAYMENTS

           The FCPA makes it an offense to corruptly pay, offer to pay, promise,
           authorize the payment of or give anything of value, directly or indirectly,
           to a foreign official, a foreign political party (or official thereof) or
           candidate for foreign office for the purpose of: (1) influencing any official
           act or decision; (2) inducing those officials, parties or candidates to do or
           omit to do any act in violation of a lawf ul duty; (3) securing any improper
           business advantage; or (4) obtaining or retaining business for or with, or
           otherwise directing business to any person or entity.
           Criminal penalties for violating the FCPA are quite severe. A corporation
           may be fined as much as $2,000,000 per violation, and criminal
           penalties regularly exceed $10,000,000. Individuals who violate the
           FCPA may be fined as much as $250,000 and imprisoned for up to five
           (5) years or more. In addition, corporations and individuals can be fined
           up to $10,000 for each civil violation of the FCPA's anti-bribery provision.
           Frontier is not permitted to reimburse any individual against whom a fine
           is imposed.

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       .14.05.1..1 Anything of Value
       The corrupt payment under the law and this policy is not limited to
       money. Payment includes 11anythlng of value11 including non-monetary
       gifts, free trips and other forms of non-cash favors. Consummation of an
       improper payment is not required~ meaning, a corrupt offer violates the
       FCPA and this policy. Any offer or payment - regardless of value - that is
       intended to corruptly influence someone violate the law and this policy.

       .14.05.1.2 Foreign Official
       The categories of ''Foreign Officials" who are covered by the FGPA and
       this policy are very broad. A Foreign Official includes:
       •   any official, officer, employee or representative of any federal, state,
           provincial, county or municipal government, or government ag~ncy or
           department, outside the United States;
       •   any official, officer, employee or representative of any commercial
           enterprise that is owned or controlled by any non-U.S. government
           (for example, a state-owned airline or state-owned utility); and
       •   any official, officer, employee or representative of any public
           international organization, such as the International Monetary Fund,
           the European Union or the World Bank.
       In addition to F-:oreign Officials, the FCPA also prohibits corrupt payments
       to any non-U.S. political party, party official or candidates for non-U.S.
       political office (collectively, "Other Covered Parties") .

       .14.05.1.3 To Obtain or Retain Business of To Gain Any Other Business
       Advantage
       'To obtain business or any advantage" is also very broad and additionally
       includes any kind of favor or preferential treatment. The FCPA and this
       policy prohibit corrupt payments in any circumstance, including, without
       limitation:
       •   corrupt payments made to obtain approval of licenses or permits, to
           circumvent the approval process for licenses or permits or to avoid or
           reduce the cost of obtaining licenses or permits;
       •   corrupt payments made to avoid or reduce any airport, overfly or
           other fees, rate, taxes or charges;
       •   corrupt payments made to secure favorable business treatment, for
           instance, favorable treatment at airports, market access or other
           advantageous commercial benefit;



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           •   corrupt payments made to induce a public official to use his
               influence to assist in obtaining or retaining business or directing
               business to any person; and
           •   corrupt payments made to secure any other advantage.


           14.05.2 OTHER ANTI-CORRUPTION LAWS

           In addition to the FCPA, it is Frontier's policy that all personnel must
           comply with other applicable anti,,corruption laws of the United States
           and other countries where we do business, Which make it illegal to offer
           or pay bribes, kickbacks or other corrupt inducements to employees or
           representatives of wholly private enterprises. For this reason, this policy
           prohibits making these kinds of corrupt payments to any person,
           including employees or representatives of private companies.
           Frontier personnel also are strictly prohibited from accepting, soliciting or
           receiving corrupt payments.
           In addition, while the FCPA is focused on corrupt payments to Foreign
           Officials, Frontier personnel also are required to comply with other U.S.
           federal and state laws that may prohibit making corrupt payments to U.S.
           federal, state and local officials or in purely commercial transactions.


           14.05.3 RELATIONSHIPS WITH THIRD PARTIES

           The FCPA prohibits both direct and .indirect payments_ Thus, a company
           and its agents or representatives will be liable under the law even if they
           attempt to "funnel" a payment indirectly to a public official by using a
           third party as the conduit. As a result, a company can face FCPA liability
           based on improper payments made by its agents, consultants, joint
           venture partners or other business partners. Thus, it is Frontier's policy
           never to use any third party to make corrupt payments, directly or
           indirectly, to Foreign Officials, Other Covered Parties or any other person.
           Frontier will conduct reasonable due diligence prior to engaging a third
           party and will include in new contractual agreements with third parties
           anti-corruption provisions specifically designed to mitigate against the
           risk of potential bribes or other illicit payments. Frontier will monitor its
           existing relationships with third parties and will be aware of "Red Flags,"
           or signs that a third party may be involved in corrupt activities. See
           Exhibit 1 ("Examples of Third Party Red Flags").


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       14.05.4 RECORD KEEPING REQUIREMENTS

       It is Frontier's policy that personnel maintain the Company's books,
       records and accounts in reasonable detail, accurately and such that they
       fairly reflect all transactions and dispositions of assets. Frontier prohibits
       the mischaracterization or omission of any transaction on the Company's
       books or any failure to rriaintain proper accounting controls that result in
       such a mischaracterization or omission. No undisclosed or unrecorded
       funds, assets or liabilities should be estaplished for any purpose.


       14.05.5 EMPLOYEE RESPONSIBILITY

       There are severe consequences of violating any laws governing anti-
       corruption. The consequences of failing to comply with the FCPA or other
       anti-corruption laws can result in civil and/or criminal fines against the
       Company and can subject the employee to prosecution, criminal fines,
       and imprisonment, as well as disciplinary action by the Company, up to
       and including, termination.
       All team .members are expected to conduct the Company's business with
       integrity and a manner that complies with the FCPA and other anti-
       corruption laws. If at any time any team member has a question about
       anti-corruption law and how it may apply to our business, he or she
       should consult with his or her supervisor or Frontier's Chief Accounting
       Officer & Vice President, Treasury at Holly.Nelson@flyfrontier.com and
       (720) 374-4297.
       All conduct with outside parties should be in a strictly professional,
       busrness-llke manner to avoid any potential or actual Violation of the
       FCPA or other anti-corruption laws.
       Each Frontier team member is expected to report any: (1) potential
       violations of this policy or any applicable anti-corruption law, including
       the FCPA; (2) solicitation or request for a bribe or illicit payment from any
       Foreign Official or any other person; or (3) discussion of a bribe or
       potential illicit payment or solicitation with any third party, to their
       immediate supervisor or Holly Nelson, Frontier Chief Accounting omcer &
       Vice President, Treasury. Supervisors who receive such reports should
       promptly notify Ms. Nelson, who shall coordinate appropriate action. It is
       Frontier's policy that personnel never will be subjected to any retribution
       for good-faith reports under this policy.




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           1.4.05.5 .1. Education and Guidance
           This Policy only summarizes the FCPA and other anti-corruption laws.
          Frontier will provide education and training on this policy, the FCPA and
          other anti-corruption laws to senior management and other appropriate
          Frontier personnel likely to have contact with Foreign Officials or Other
          Covered Part ies on Frontier's behalf. These personnel will annually certify
          thelr compliance With this policy. See Exhiblt 2 ("Certification under The
          Foreign Corrupt Practices Act and Other Applicable Anti-Corruption
          Laws").


           14.05.6 FURTHER INFORMATION

           Any questions about this policy or compliance with the FCPA or other anti-
           corruption laws should be directed to Frontier1s Chief Accounting Officer
           & Vice President, Treasury.
                           Exhibit 1- Examples of Third Party Red Flags
           The following are examples of "Red Flags," namely circumstances where
           anti-corruption rlsk is higher or signs that a Third Party may potentially be
           involved in corrupt activities. This list is not exhaustive. Personnel should
           report to the Chief Accounting Officer & Vice President, Treasury any
           circumstances that suggest improper payments or illegal activity.
           •   The Third Party, or a director, officer or employee of the Third Party (if
               a company), is a Foreign Official or Other Covered Party, or an
               immediate family member of a Foreign Official or Other Covered
               Party;
           •   The Third Party Is owned in whole or in part, or controlled, by a
               government, Foreign Official or immediate family member of a
               Foreign Official;
           •   A Foreign Official recommended that the Company use the Third
               Party;
           •   The Third Party lacks experience with the product or industry, or
               lacks qualified staff or adequate facilit ies for t he contemplated
               tasks;
           •   The Third Party refuses to cooperate with reasonable anti-corruption
               diligence requests or provides false information in response to
               diligence requests;




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       •   The Third Party has a reputation for impropriety, unethical or illegal
           conduct, or corruption; has been the subject of allegations or
           investigations related to integrity; or is new to the business such that
           its reputation cannot be verified;
       •   The Third Party insists on sole control of government interactions or
           restricts Company access;
       •   The Th ird Party refuses to enter into a written contract or agreement
           without legitimate commercial justification;
       •   The Third Party requests an unreasonably high margin, fee,
           commission or compensation; seeks reimbursement for unusually
           high expenses; or seeks other unusual payment arrangements;
       •   The Third Party requests payment up-front Without legitimate
           commercial justification;
       •   The Third Party requests payments to third countries (i.e., where the
           payee is not located) or third parties;
       •   The Th ird Party requests payments In cash or bearer instruments;
       •   Payments are allowed or made outside the scope of or not in
           accordance with the agreement;
       •   The Third Party requests advance of funds without a documented
           and legitimate basis for funds;
       •   The Third Party seeks reimbursement of any expenses without
           proper documentation;
       •   Reimbursement is requested or made for expenses f ncurred by, or
           for, a Foreign Official or Other Covered Party;
       •   Any payments are made to a Foreign Official or Other Covered Party
           not in accordance with the Company's policies and procedures;
       •   The Third Party seeks reimbursements of costs that are unrelated to
           a business purpose;
       •   The Third Party refuses to cooperate with reasonable requests to
           facilitate any investigation of allegations of misconduct related to the
           agreement; or
       •   The Third Party refuses to make certifications of compliance with the
           FCPA or other applicable anti-corruption laws or places unreasonable
           limits on such certifications.




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                Exhibit 2 - Certification under The Foreign Corrupt Practices Act and
                                Other Applicable Anti~orruption Laws
           The undersigned, being an employee or agent of Frontier Airlines, Inc_
           ("Frontier") a Colorado corporation (the "Company"), for purposes of
           insuring the Company's compliance with the provisions of The Foreign
           Corrupt Practices Act of 1977, as amended (the nFCPA") and other
           applicable anti-corruption laws, does hereby certify as follows:
           1.    I have read the Frontier Anti-Corruption Compliance Policy ("Policy")
                 and have not violated the Policy.
           2_    I have not offered, maqe a gift, paid, transferred or promised, nor do
                 I have any knowledge of any offer, gift, payment, transfer, or promise
                 by any officer, director, employee, consultant or independent
                 contractor retained by the Company, to any officer or employee of, or
                 any person acting in an official capacity on behalf of, a foreign or U.S.
                 government or any department, agency, or instrumentali'tY thereof
                 for the purpose of:
                 a. inducing the recipient to affect the enactment, promulgation or
                      passage of legislation or regulations;
                 b. inducing the recipient to perform or refrain from performing any
                      official responsibilities for the benefit of the Company;
                 c. inducing the recipient to direct business opportunities to the
                      Cempany; or
                 d. inducing the recipient to divert business opportunities to the
                      Company.
          3.     I have not engaged in, nor do I have any knowledge of others
                 engaging in, any:
                 a. tampering or falsification of the Company's business or
                      accounting records for the purpose of disguising any activities
                      referenced above;
                 b. payment of unreasonably high compensation to consultants
                      hired to assist the Company with operations or contractual
                      negotiations in any foreign countries;
                 c_ bribes, kickbacks or other corrupt or illicit payments made on
                      the Company's behalf to any person, including representatives
                      or employees of private companies;
                 d. solicitation or acceptance of any bribe, kickback or other corrupt
                      payment from any person in violation of applicable law.




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       4.   To my knowledge, the Company is in compliance with the national
            and local laws applicable to the Company in each foreign jurisdiction
            in which it conducts business.
       5.      I will comply with the Policy in the future In relation to my
               employment with Frontier.
       6. I am not a Foreign Official or Other Covered Party (as defined in the
               Policy).
       7.   If subsequent developments cause this Certification to no longer be
            accurate. I will immediately advise the Chief Accounting Officer &
            Vice President, Treasury of such change ln circumstances.


       IN WITNESS WHEREOF, I have signed this Certificate on this_ day of
       __ _ _ _ __, 2013.




       Signature




       Name




       Title




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                                PROCUREMENT POLICY
                                                                            I
           15.05.1 INTRODUCTION

           The purpose of this policy is to ensure that goods and services
           purchased by the Company are obtained in a cost effective manner and
           in compliance with federal regulat ions.


           15.05.2 SCOPE
           This policy applies to any employees authorized to init iate and/ or
           approve purchases on behalf of the Company.


           15.05.3 OVERVIEW
           The Company requires buyers to perform some measure of cost/price
           analysis when making purchases or engaging third party vendors. Buyers
           shall avoid purchasing unnecessary items. All vendor bids and quotations
           must be evaluated on the basis of product quality, technical compliance
           with specifications, total cost, and the vendor's acceptance of the
           Company's terms and conditions
           Before beginning vendor selection, buyers must be sure t hat they have a
           clear and accurate description of the requirements for the material,
           product, or service being acquired so that a fair and equitable
           comparison of the price and/or cost can be made. Whenever possible,
           three pr.ice quotes should be obtained for all goods and services.


           15.05.4 CODE OF CONDUCT
           All employees and representatives of the Company are expected to
           conduct themselves in a professional and ethical manner, maintaining
           high standards of integrity and the use of good judgment.
           •   Employees are expected to be principled in their business
               interactions.




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       •   No employee, officer, director, or agent of the Company shall
           participate in the selection or award of a bid or contract if a conflict
           of interest is real or apparent to a reasonable person. Conflicts of
           interest may arise when any employee, officer, director, or agent of
           the Company has a financia l, family or any other beneficial interest in
           the vendor firm selected or considered for an award.
       •   No employee, officer, director, or agent of the Company shall do
           business with, award contract to, or show favoritism toward a
           member of his/ her immediate family, spouse's family or to any
           company, vendor or concern who either employs or has any
           relationship with a family member.
       •   No employee, officer, director, or agent of the Company shall
           discriminate against minority and/or women-owned businesses in
           the procurement of goods, supplies and services.
       ~   Procurement awards will be reviewed annually to assure compliance
           with this policy_




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                               RECORDS RETENTION AND
                                 DESTRUCTION POLICY



           16.05.1 INTRODUCTION

           Frontier Airlines, Inc. (the "Company") has implemented the following
           Records Retention Policy (the "Policy") to ensure the efficient and lawful
           management of records that are created or maintained by or on behalf of
           the Company, whether paper or electronic ("Records"). This Policy applies
           to all Company employees or individuals working on behalf of the
           Company.


           16.05.2 SCOPE
           Federal and state law requires certain Records to be retained for specific
           periods of t ime. This Policy is intended to provide clear guidance to help
           ensure that our Records are managed in an efficient and lawful manner.
           Company employees must follow the directives set forth in t his Policy,
           including the retent ion of Records set forth in Document Retention
           Schedule (Section VI), so that t he Company complies with federal, state
           and local Record management laws. The early destruction of Records
           required to be retained under local, state or federal law can result in civil
           or criminal penalties for individual employees and the Company. Failure
           to comply with this Policy may also result in an employment action,
           including suspension or termination.


           16.05.3 OVERVIEW

           16.05.3.1 Responsibility for Records
           The responsibility over each Record rests with the individual or
           department that has access to and .decision-making authority .over that
           Record.




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       1.6.05.3.2 Records Retention Administration

       Legal Department
       The Company's Legal Department shall be responsible for the drafting,
       revision and final interpretation of the Policy and shall update executive
       management on all compliance matters related thereto. It shall also
       serve as the initial point of contact for Company employees regarding the
       proper treatment of Records. In dlfficult or close cases, the General
       Counsel wi ll be consulted for a final determination as to the appropriate
       retent ion period.

       Records Retention -Committee
       Implementation and enforcement of the Policy shall be managed by the
       Records Retention Committee (the "Committee"). The Committee shall
       include the General Counsel (Chair), VP, Human Resources, Chief
       Accounting Officer, and VP, CIO. The Committee shall meet as f requently
       as necessary to maintain this Policy; but at least once per year.

       .16.05.3.3 The Offlclal Record
       Only one copy, in either paper or electronic format, of any particular
       Record is considered the "official" Record. It is the ''official" Record copy
       which must be retained to meet legal, tax and auditing requirements.
       Duplicate copies of Records are t o be destroyed as soon as they are no
       longer operationally necessary.

       1.6.05.3.4 Electronic Records
       The same Records management principles apply to Records on
       computers and ot her digital media as to those on paper.

       1.6.05.3.5 Electronic Mail
       All email to be tetained must be placed in an electronic subfolder created
       Within the lnbox. Any email in the following folders: General lnbox, Sent
       Items or Deleted Items will be permanently deleted after 90 days. The
       Company performs electronic mail deletions in order to manage and
       conserve electronic data storage resources.

       ..16.05.3 .6 Destruction of Records
       A Record shall be destroyed unless: 1) it falls under a category t hat is
       assigned a retention period in Section VI; or 2) it must be retained to
       comply with other legal, tax, auditing, regulatory or business operational
        purposes. Once the conditions in 1) and/or 2) expire, each Record shall
        be destroyed.


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           The method of destruction should be consistent with t he type of Record
           being destroyed. Confidential Records should be disposed of in a manner
           that prevents them from being accessible to others (e.g., shredding,
           incineration in an authorized facility, etc.).
           All electronic archives/ backup tapes wiH be permanently erased by the IT
           Department thirty (30) days after creation.


           16.05.4, TEMPORARY POLICY SUSPENSION
          Upon becoming aware of potential or actual litigation, or a governmental
          audit , Investigation or other similar proceeding involving the Company,
          t he Company s General Counsel will notify affected Company employees
          of Records that could be subject to a document destruction suspension.
          A suspension on document destruction shall remain in effect until the
          matter is resolved, and the General Counsel authorizes its resumption.


           16.05.5 AUDIT
           The Company's Internal Audit Department shall periodically audit for
           compliance wit h this Policy.


           16.05.6 RECORD RETENTION SCHEDULE
           The following retention schedule assigns minimum timeframes a Record
           must be retained for t he most common types of Records that have legal
           retention restrictions or potential long-term historical or operational
           value.

                 RETENTION CATEGORY                         RETENTION PERIOD
           ACCOUNTING                               8 years
           Includes Records related to:             (10 years for fixed assets)
           banking activit ies; banking
           accounts; accounts payable/
           receivable; uncollected accounts;
           policy/ audit compliance; general
           ledger; insurance policies; payroll;
           wage and income tax statements;
           and ot her accounting documents
           such as reports and statements.




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              RETENTION CATEGORY                          RETENTION PERIOD
        AGREEMENTS                                5 years after agreement expires
        Includes Records related to
        contractual or other legally binding
        agreements between the Company
        and outside parties.
        COMMUNICATIONS                            5 years
        Includes Records related to press
        releases and media kits.
        CREDIT                                    3 years after repayment or
                                                  redemption
        Includes Records related to loan or
        credit agreements. note purchase
        agreements. bonds, debentures
        and indentures and related loan
        documentation.
        HUMAN RESOURCES                           7 years after the employee leaves
                                                  the Company
        Includes Records related to
        personnel matters, employment
        contracts, payment of wages, leave
        Records. immigration Records, job
        evaluations. safety and accident
        reports, employment complaints,
        and company-sponsored bene.f it
        plans.
        LEGAL DOCUMENTS                           Permanent
        Includes Records related to: legal
        compliance; deeds of own ership;
        federal , state or local tax returns;
        site or employee security reports;
        company's acquisition or
        divestitures of assets; Intellectual
        Property; and organizational and
        governance matters of the
        Company (including SEC filings,
        annual reports. articles of
        incorporation, board books or
        other presentations made to the
        Board of Directors, by-laws. stock
        Records, and minute books).




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                 RETENTION CATEGORY                     RETENTION PERIOD
           MAINTENANCE RECORDS                   See 14 CFR 121.380 and
                                                 applicable lease agreement
           Includes aircraft maintenance and
           inspection records required to be
           preserved under lease agreements
           - in part icular, sections of lease
           agreements addressing ret urn
           conditions.
           REGULATORY DOCUMENTS                  Record requires a longer retention
                                                 period
           Includes government filings,
           government correspondence, or
           Records required to be kept by the
           U.S. government or a state
           government. This. includes Records
           related to the U.S. Department of
           Agricult ure, U.S. Department of
           Labor, U.S. Internal Revenue
           Service. U.S. Federal Trade
           Commission, U.S. Food and Drug
           Administration, U.S. Departm ent of
           Homeland Security and U.S.
           Department of Health.




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                                                                                          REVISION FILING
            FRONTIER                                                            INSTRUCTIONS/ HIGHLIGHTS
                                           Employee Handbook
           REVISION NUMBER: 27                                  REVISION DATE: 06/ 11/15
           Instructions:
           1. Insert the attached revision as instructed below.
               • Pages to be removed ,are listed in the left-hand column. A horizontal line in this column means no
                    pages are to be removed.
               • Pages to be inserted are listed in the middle column. A horizontal line in this column means no pages
                    ate to be inserted.
               • A description of the revision is found in the right-hand column.
           2 . Fill In the Reyfslon Date. Date Posted. and Posted By fields on the Record of ~evlsions page,



                REMOVE PAGES                 ADD PAGES                  REVISION HIGHLIGHTS
                                     I                        !
                                                           Preface
               00.00 Pg. 3, 4        I 00.00 Pg. 3, 4 IRevised List of Effective Pages
                                         Chapter 9- Safety and Health Program
              09.05 Pgs. 5 - 6            09.05 Pgs. 5 - 6 pg 5- no change
                                                            pg 6- Addeo "Flight Attendants" to two
                                                            sentences in the first paragraph; revised
                                                            language in 2nd paragraph to read "and
                                                            t he unions rep~esent ing each work
                                                            group''




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